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THIS PROPOSED COMBINED PLAN AND DISCLOSURE STATEMENT HAS NOT
RECEIVED INTERIM APPROVAL FROM THE BANKRUPTCY COURT AND THE
DEBTORS’ PROPOSED SOLICITATION PROCEDURES HAVE NOT RECEIVED
BANKRUPTCY COURT APPROVAL. ACCORDINGLY, THE FILING AND DISSEMINATION
OF THIS PROPOSED COMBINED PLAN AND DISCLOSURE STATEMENT ARE NOT
INTENDED AND SHOULD NOT IN ANY WAY BE CONSTRUED AS A SOLICITATION OF
VOTES ON THIS COMBINED PLAN AND DISCLOSURE STATEMENT, NOR SHOULD THE
INFORMATION CONTAINED HEREIN BE RELIED UPON FOR ANY PURPOSE UNTIL
APPROPRIATE BANKRUPTCY COURT APPROVAL IS OBTAINED.

                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                         Chapter 11
In re:

SDI SOLUTIONS LLC, et al.,                               Case No. 16-10627 (CSS)

                                     Debtors.1           Jointly Administered




                      DEBTORS’ COMBINED DISCLOSURE STATEMENT
                         AND CHAPTER 11 PLAN OF LIQUIDATION

Dated: May 24, 2016
       Wilmington, Delaware

DLA PIPER LLP (US)                                     DLA PIPER LLP (US)
Stuart M. Brown (DE 4050)                              Thomas R. Califano (admitted pro hac vice)
Kaitlin M. Edelman (DE 5924)                           Daniel G. Egan (admitted pro hac vice)
1201 N. Market Street, Suite 2100                      1251 Avenue of the Americas
Wilmington, DE 19801                                   New York, New York 10020
Telephone: (302) 468-5700                              Telephone: (212) 335-4500
Facsimile: (302) 394-2341                              Facsimile: (212) 335-4501
Email: Stuart.Brown@dlapiper.com                       Email: Thomas.Califano@dlapiper.com
        Kaitlin.Edelman@dlapiper.com                          Daniel.Egan@dlapiper.com

                          Attorneys for Debtors And Debtors In Possession




1
    The Debtors in these Chapter 11 Cases, together with the last four digits of each Debtor’s federal tax
    identification number, are as follows: SDI Solutions LLC (5389); and SDI Opco Holdings, LLC (8848). The
    mailing address for the Debtors, solely for purposes of notices and communications, is 33 W. Monroe, Suite
    400, Chicago, IL 60603.




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          EACH HOLDER OF A CLAIM AGAINST THE DEBTORS ENTITLED
TO VOTE TO ACCEPT OR REJECT THE PLAN SHOULD READ THIS COMBINED
PLAN AND DISCLOSURE STATEMENT IN ITS ENTIRETY BEFORE VOTING. NO
SOLICITATION OF VOTES TO ACCEPT OR REJECT THIS COMBINED PLAN AND
DISCLOSURE STATEMENT MAY BE MADE EXCEPT PURSUANT TO THE TERMS
HEREOF AND BANKRUPTCY CODE SECTION 1125. IF YOU ARE ENTITLED TO
VOTE TO APPROVE THE PLAN, YOU ARE RECEIVING A BALLOT WITH YOUR
NOTICE OF THIS COMBINED PLAN AND DISCLOSURE STATEMENT. THE
DEBTORS URGE YOU TO VOTE TO ACCEPT THE PLAN.

           THIS COMBINED PLAN AND DISCLOSURE STATEMENT HAS BEEN
PREPARED IN ACCORDANCE WITH BANKRUPTCY CODE SECTIONS 1125 AND
1129, BANKRUPTCY RULES 3016 AND 3017, AND LOCAL RULE 3017-2, AND NOT
IN ACCORDANCE WITH FEDERAL OR STATE SECURITIES LAW OR OTHER
APPLICABLE NONBANKRUPTCY LAW. PERSONS OR ENTITIES TRADING IN OR
OTHERWISE PURCHASING, SELLING, OR TRANSFERRING CLAIMS AGAINST
OR INTERESTS IN THE DEBTORS SHOULD EVALUATE THIS COMBINED PLAN
AND DISCLOSURE STATEMENT IN LIGHT OF THE PURPOSE FOR WHICH IT
WAS PREPARED. THIS COMBINED PLAN AND DISCLOSURE STATEMENT
SHALL NOT BE CONSTRUED TO BE ADVICE ON THE TAX, SECURITIES, OR
OTHER LEGAL EFFECTS OF THIS COMBINED PLAN AND DISCLOSURE
STATEMENT AS TO HOLDERS OF CLAIMS AGAINST OR INTERESTS IN THE
DEBTORS.

           IRS CIRCULAR 230 NOTICE: TO ENSURE COMPLIANCE WITH IRS
CIRCULAR 230, HOLDERS OF CLAIMS AND INTERESTS ARE HEREBY NOTIFIED
THAT: (A) ANY DISCUSSION OF U.S. FEDERAL TAX ISSUES CONTAINED OR
REFERRED TO IN THIS COMBINED PLAN AND DISCLOSURE STATEMENT IS
NOT INTENDED OR WRITTEN TO BE USED, AND CANNOT BE USED, BY
HOLDERS OF CLAIMS OR INTERESTS FOR THE PURPOSE OF AVOIDING
PENALTIES THAT MAY BE IMPOSED ON THEM UNDER THE INTERNAL
REVENUE CODE; (B) SUCH DISCUSSION IS WRITTEN IN CONNECTION WITH
THE PROMOTION OR MARKETING BY THE DEBTORS OF THE TRANSACTIONS
OR MATTERS ADDRESSED HEREIN; AND (C) HOLDERS OF CLAIMS AND
INTERESTS SHOULD SEEK ADVICE BASED ON THEIR PARTICULAR
CIRCUMSTANCES FROM AN INDEPENDENT TAX ADVISOR.

          THERE HAS BEEN NO INDEPENDENT AUDIT OF THE FINANCIAL
INFORMATION CONTAINED IN THIS COMBINED PLAN AND DISCLOSURE
STATEMENT EXCEPT AS EXPRESSLY INDICATED HEREIN. THIS COMBINED
PLAN AND DISCLOSURE STATEMENT WAS COMPILED FROM INFORMATION
OBTAINED FROM NUMEROUS SOURCES BELIEVED TO BE ACCURATE TO THE
BEST OF THE DEBTORS’ KNOWLEDGE, INFORMATION, AND BELIEF. THIS
COMBINED PLAN AND DISCLOSURE STATEMENT WAS NOT FILED WITH THE
SECURITIES AND EXCHANGE COMMISSION OR ANY STATE AUTHORITY AND
NEITHER THE SECURITIES AND EXCHANGE COMMISSION NOR ANY STATE
AUTHORITY HAS PASSED UPON THE ACCURACY, ADEQUACY, OR MERITS OF


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THIS COMBINED PLAN AND DISCLOSURE STATEMENT.         NEITHER THIS
COMBINED PLAN AND DISCLOSURE STATEMENT NOR THE SOLICITATION OF
VOTES TO ACCEPT OR REJECT THE PLAN CONSTITUTES AN OFFER TO SELL
OR THE SOLICITATION OF AN OFFER TO BUY SECURITIES IN ANY STATE OR
JURISDICTION IN WHICH SUCH OFFER OR SOLICITATION IS NOT
AUTHORIZED.

          THIS COMBINED PLAN AND DISCLOSURE STATEMENT MAY
CONTAIN “FORWARD LOOKING STATEMENTS” WITHIN THE MEANING OF
THE PRIVATE SECURITIES LITIGATION REFORM ACT OF 1995.     SUCH
STATEMENTS CONSIST OF ANY STATEMENT OTHER THAN A RECITATION OF
HISTORICAL FACT AND CAN BE IDENTIFIED BY THE USE OF FORWARD
LOOKING TERMINOLOGY SUCH AS “MAY,” “EXPECT,” “ANTICIPATE,”
“ESTIMATE,” OR “CONTINUE” OR THE NEGATIVE THEREOF OR OTHER
VARIATIONS THEREON OR COMPARABLE TERMINOLOGY. THE READER IS
CAUTIONED THAT ALL FORWARD LOOKING STATEMENTS ARE NECESSARILY
SPECULATIVE AND THERE ARE CERTAIN RISKS AND UNCERTAINTIES THAT
COULD CAUSE ACTUAL EVENTS OR RESULTS TO DIFFER MATERIALLY FROM
THOSE REFERRED TO IN SUCH FORWARD LOOKING STATEMENTS.

         ANY PROJECTED RECOVERIES TO CREDITORS SET FORTH IN
THIS COMBINED PLAN AND DISCLOSURE STATEMENT ARE BASED UPON THE
ANALYSES PERFORMED BY THE DEBTORS AND THEIR ADVISORS.
ALTHOUGH THE DEBTORS AND THEIR ADVISORS HAVE MADE EVERY
EFFORT TO VERIFY THE ACCURACY OF THE INFORMATION PRESENTED
HEREIN, THE DEBTORS AND THEIR ADVISORS CANNOT MAKE ANY
REPRESENTATIONS OR WARRANTIES REGARDING THE ACCURACY OF THE
INFORMATION.

          NOTHING STATED HEREIN SHALL BE DEEMED OR CONSTRUED AS
AN ADMISSION OF ANY FACT OR LIABILITY BY ANY PARTY, OR BE
ADMISSIBLE IN ANY PROCEEDING INVOLVING THE DEBTORS OR ANY OTHER
PARTY. THE STATEMENTS CONTAINED HEREIN ARE MADE AS OF THE DATE
HEREOF, UNLESS ANOTHER TIME IS SPECIFIED. THE DELIVERY OF THIS
COMBINED PLAN AND DISCLOSURE STATEMENT SHALL NOT BE DEEMED OR
CONSTRUED TO CREATE ANY IMPLICATION THAT THE INFORMATION
CONTAINED HEREIN IS CORRECT AT ANY TIME AFTER THE DATE HEREOF.

          IT IS THE OPINION OF THE DEBTORS AND THE CREDITORS’
COMMITTEE THAT THE TREATMENT OF CREDITORS UNDER THE PLAN
CONTEMPLATES A GREATER RECOVERY THAN THAT WHICH IS LIKELY TO
BE ACHIEVED UNDER OTHER ALTERNATIVES FOR THE DEBTORS.
ACCORDINGLY, THE DEBTORS AND THE CREDITORS’ COMMITTEE BELIEVE
THAT CONFIRMATION OF THE PLAN IS IN THE BEST INTERESTS OF
CREDITORS, AND THE DEBTORS RECOMMEND THAT CREDITORS SUPPORT
AND VOTE TO ACCEPT THE PLAN.



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                                          I.      INTRODUCTION

              SDI Solutions LLC (“SDI Solutions”) and SDI Opco Holdings, LLC (“SDI
Opco” and, together with SDI Solutions, the “Debtors”) hereby propose this Combined Plan and
Disclosure Statement pursuant to sections 1125 and 1129 of the Bankruptcy Code and Local
Rule 3017-2.2 While the Debtors are the proponents of this Combined Plan and Disclosure
Statement within the meaning of section 1129 of the Bankruptcy Code, this Combined Plan and
Disclosure Statement, as may be amended from time to time, is the culmination of extensive
negotiations between the Debtors, the Creditors’ Committee, and PGV, resulting in this
consensual liquidating chapter 11 plan for the Debtors and the remaining assets of the estates.
The Creditors’ Committee and PGV support this Combined Plan and Disclosure Statement and
encourage the Holders of Impaired Claims entitled to vote hereunder to vote to accept this
Combined Plan and Disclosure Statement.

                This Combined Plan and Disclosure Statement contemplates the creation of a
Liquidating Trust from which, pursuant to the terms of this Combined Plan and Disclosure
Statement and the Liquidating Trust Agreement, Distributions shall be made for the benefit of
Holders of various Allowed Claims. As a result of the consideration and various concessions
being provided by PGV, this Combined Plan and Disclosure Statement provides for meaningful
benefits to the Debtors’ estates and Creditors holding Allowed Claims. PGV has agreed to,
among other things, (i) release and forgo any Liens it may otherwise have upon various claims,
causes of action, and funds transferred to the Liquidating Trust hereunder; (ii) forgo and waive
any right to receive a Distribution on account of its unsecured deficiency claim, which will
enhance any recoveries for other Holders of Allowed General Unsecured Claims; and
(iii) allocate $500,000 in cash from its collateral or other property to be transferred to the
Liquidating Trust and used to, among other things, make Distributions to Holders of Allowed
General Unsecured Claims. These agreements are reflected in the Global Settlement Order and
DIP Orders approved by the Court. The Debtors submit that the consideration paid and other
concessions by PGV constitute substantial value to the estates without which confirmation and
implementation of this Combined Plan and Disclosure Statement and the benefits contained
herein would not be possible.

               Subject to the restrictions on modifications set forth in section 1127 of the
Bankruptcy Code and Bankruptcy Rule 3019 and those restrictions on modifications set forth in
Section XV.A. of this Combined Plan and Disclosure Statement, the Debtors, after consultation
with the Creditors’ Committee, expressly reserve the right to alter, amend, or modify this
Combined Plan and Disclosure Statement, including the Plan Supplement, one or more times
before substantial consummation thereof.

                      II. DEFINITIONS AND CONSTRUCTION OF TERMS

A.       Definitions

               As used herein, the following terms have the respective meanings specified
below, unless the context otherwise requires:
2
     Capitalized terms used but not defined in this Introduction have the meanings ascribed to them in Section II of
     this Combined Plan and Disclosure Statement.


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        1.      “363 Sale” means the sale of substantially all of the Debtors’ Assets as set forth
in, and in accordance with, the 363 Sale Documents.

       2.     “363 Sale Agreement” means that certain Asset Purchase Agreement, dated as of
March 13, 2016, by and among PGV, as Purchaser, and SDI Solutions and SDI Opco, as sellers,
together with all schedules and exhibits thereto, as the same may be amended, modified, or
supplemented from time to time.

        3.     “363 Sale Documents” means the 363 Sale Agreement, the 363 Sale Order, and
all documents, instruments, and agreements executed and delivered in connection therewith.

       4.     “363 Sale Motion” means the Motion of the Debtors and Debtors in Possession
Pursuant to Section 105(a), 363 and 365 of the Bankruptcy Code for an Order (I)(A) Approving
Procedures in Connection with the Sale of Substantially All of the Debtors’ Assets;
(B) Scheduling the Related Auction and Hearing to Consider Approval of Sale; (C) Approving
Procedures Related to the Assumption of Certain Executory Contracts and Unexpired Leases;
(D) Approving the Form and Manner of Notice Thereof; (E) Approving Expense Reimbursement;
and (F) Granting Related Relief; and (II)(A) Authorizing the Sale of Substantially All of the
Debtors’ Assets Pursuant to the Successful Bidder’s Asset Purchase Agreement Free and Clear
of Liens, Claims, Encumbrances, and Other Interests; (B) Approving the Assumption and
Assignment of Certain Executory Contracts and Unexpired Leases Related Thereto; and
(C) Granting Related Relief, Filed by the Debtors on March 13, 2016 [Docket No. 13].

        5.     “363 Sale Order” means the Order Authorizing (A) the Sale of Substantially All
of the Debtors’ Assets Free and Clear of All Claims, Liens, Rights, Interest and Encumbrances;
(B) the Debtors to Enter Into and Perform Their Obligations Under the Asset Purchase
Agreement; and (C) the Debtors to Assume and Assign Certain Executory Contracts and
Unexpired Leases, entered by the Bankruptcy Court on May 16, 2016 [Docket No. 235].

       6.      “Acquired Assets” means all Assets transferred, conveyed, sold, and assigned to
the Purchaser under and in connection with the consummation of the 363 Sale under the 363 Sale
Documents, which are set forth in more detail in the 363 Sale Agreement.

        7.      “Acquired Avoidance Actions” means all Avoidance Actions purchased by and
transferred to the Purchaser under and in connection with the 363 Sale Documents.

      8.      “Administrative Expense Claim Bar Dates” means, collectively, the Initial
Administrative Expense Claim Bar Date and the Second Administrative Expense Claim Bar
Date.

         9.     “Administrative Expense Claim” means any Claim constituting an actual,
necessary cost or expense of administering the Chapter 11 Cases under sections 503(b) and
507(a)(2) of the Bankruptcy Code including, without limitation, (a) any actual and necessary
costs and expenses of preserving the Estates, (b) all compensation and reimbursement of
expenses under section 330 or 503 of the Bankruptcy Code, (c) any fees or charges assessed
against the Estates under section 1930 of chapter 123 of title 28 of the United States Code, and
(d) all Claims arising under section 503(b)(9) of the Bankruptcy Code.


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        10.     “Allowed” means, with respect to Claims: (a) any Claim, proof of which was
timely Filed (or for which Claim, under this Combined Plan and Disclosure Statement, the
Bankruptcy Code, or a Final Order of the Bankruptcy Court, a Proof of Claim is not or shall not
be required to be Filed); (b) any Claim which has been or hereafter is listed by the Debtors in the
Schedules as liquidated in amount and not disputed or contingent and for which no Proof of
Claim has been Filed; or (c) any Claim expressly allowed pursuant to this Combined Plan and
Disclosure Statement or a Final Order of the Bankruptcy Court; provided that any Claim
described in clauses (a) and (b) shall be considered Allowed only if and to the extent that with
respect to such Claim, no objection to the allowance thereof has been interposed within the
applicable period fixed by this Combined Plan and Disclosure Statement, the Bankruptcy Code,
the Bankruptcy Rules, or the Bankruptcy Court, or such objection is interposed and the Claim is
subsequently Allowed by a Final Order; provided, further, that Claims Allowed solely for
purposes of voting on this Combined Plan and Disclosure Statement pursuant to an Order of the
Bankruptcy Court shall not be considered “Allowed” Claims hereunder. An Allowed Claim
shall be net of any valid setoff exercised with respect to such Claim pursuant to the provisions of
the Bankruptcy Code and applicable law. Moreover, any portion of a Claim that is satisfied,
released, or waived during the Chapter 11 Cases is not an Allowed Claim. Unless otherwise
specified in this Combined Plan and Disclosure Statement, in section 506(b) of the Bankruptcy
Code, or by Final Order of the Bankruptcy Court, “Allowed” Claims shall not, for purposes of
Distributions under this Plan, include interest on such Claim accruing from and after the Petition
Date.

      11.    “Approved Budget” means the budget attached to the Final DIP Order, as
amended, modified, or updated from time to time in accordance with the Postpetition Credit
Agreement and Final DIP Order.

       12.    “Assets” means all tangible and intangible assets of every kind and nature of the
Debtors and the Estates within the meaning of section 541 of the Bankruptcy Code.

       13.    “Assumed Liabilities” means any and all liabilities assumed by the Purchaser in
connection with the 363 Sale, as set forth in the 363 Sale Documents.

         14.    “Avoidance Actions” means all rights to avoid transfers or distributions and
recover any such avoided transfers or distributions for the benefit of the Estates under chapter 5
of the Bankruptcy Code or otherwise, including, but not limited to, Bankruptcy Code sections
506(d), 522, 541, 542, 543, 544, 545, 547, 548, 549, 550, or 553, or otherwise under the
Bankruptcy Code or under similar or related state or federal statutes and common law, including,
without limitation, all preference, fraudulent conveyance, fraudulent transfer, and/or other
similar avoidance claims, rights, and causes of action, whether or not demand has been made or
litigation has been commenced as of the Effective Date to prosecute such Avoidance Actions;
subject, however, to any releases thereof provided in this Combined Plan and Disclosure
Statement, the Plan Confirmation Order, the Final DIP Order, the 363 Sale Order, or any other
Final Order of the Bankruptcy Court.

       15.     “Ballot” means the ballot on which each Holder of a Claim entitled to vote on the
acceptance or rejection of this Combined Plan and Disclosure Statement casts such vote.



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          16.      “Balloting Agent” means Donlin Recano.

          17.      “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101,
et seq.

        18.     “Bankruptcy Court” or “Court” means the United States Bankruptcy Court for
the District of Delaware, having jurisdiction over the Chapter 11 Cases, or if such Court ceases
to exercise jurisdiction over the Chapter 11 Cases, such court or adjunct thereof that exercises
jurisdiction over the Chapter 11 Cases in lieu of the United States Bankruptcy Court for the
District of Delaware.

        19.    “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure as
promulgated by the United States Supreme Court under section 2075 of title 28 of the United
States Code, as amended from time to time.

       20.    “Beneficiary” means, with respect to the Liquidation Trust, any Holder of an
Allowed Claim or Allowed Interest that may, or that is entitled to, receive a Distribution from the
Liquidation Trust under the terms hereof.

       21.    “Bid Procedures” means those Bidding Procedures attached as Exhibit 1 to the
Bid Procedures Order, as amended or modified from time to time.

        22.    “Bid Procedures Order” means the Order (A) Approving Procedures in
Connection With the Sale of Substantially All of the Debtors' Assets; (B) Scheduling the Related
Auction and Hearing to Consider Approval of Sale; (C) Approving Procedures Related to the
Assumption of Certain Executory Contracts and Unexpired Leases; (D) Approving the Form and
Manner of Notice Thereof; and (E) Granting Related Relief, entered by the Bankruptcy Court on
April 5, 2016 [Docket No. 92], as amended or modified from time to time.

       23.     “Business Day” means any day other than a Saturday, Sunday, or any other day
on which commercial banks in New York, New York are required or authorized to close by law
or executive order.

        24.        “Cash” means legal tender of the United States of America and equivalents
thereof.

        25.    “Causes of Action” means all claims, actions (including the Avoidance Actions),
causes of action, choses in action, suits, debts, dues, sums of money, accounts, reckonings,
bonds, bills, specialties, covenants, contracts, controversies, agreements, promises, variances,
trespasses, damages, judgments, third-party claims, counterclaims, and crossclaims of any
Debtor and/or any of the Estates against any Person, based in law or equity, including, but not
limited to, under the Bankruptcy Code, whether direct, indirect, derivative, or otherwise and
whether asserted or unasserted, and any and all commercial tort claims against any Person; and
subject, however, to any releases provided in this Combined Plan and Disclosure Statement, the
Plan Confirmation Order, the Final DIP Order, the 363 Sale Order, or any other Final Order of
the Bankruptcy Court.



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       26.    “Chapter 11 Cases” means the jointly administered cases under chapter 11 of the
Bankruptcy Code commenced by the Debtors, styled as SDI Solutions LLC, et al., under Case
No. 16-10627 (CSS), currently pending in the Bankruptcy Court.

        27.        “Claim” has the meaning set forth in section 101(5) of the Bankruptcy Code.

        28.        “Claims Agent” means Donlin Recano.

       29.    “Claims Objection Deadline” means the date that is one hundred and eighty
(180) days after the Effective Date or such later date as may be approved by the Bankruptcy
Court.

       30.   “Class” means any group of substantially similar Claims or Interests classified by
this Combined Plan and Disclosure Statement pursuant to sections 1122 and 1123(a)(1) of the
Bankruptcy Code.

        31.        “Clerk” means the clerk of the Bankruptcy Court.

        32.    “Collateral” means any property or interest in property of the Debtors or the
Estates subject to Lien to secure the payment or performance of a Claim, which Lien is not
subject to any Avoidance Action or otherwise waived in accordance with the Global Settlement.

        33.     “Combined Plan and Disclosure Statement” or “Plan” means this combined
disclosure statement and chapter 11 plan of liquidation including, without limitation, all exhibits,
supplements, appendices, and schedules hereto, either in their present form or as the same may
be altered, amended, or modified from time to time through the Effective Date.

        34.     “Compensation and Reimbursement Claim” means a Claim for compensation
for services rendered or reimbursement of expenses incurred through and including the Effective
Date pursuant to Bankruptcy Code sections 330, 331, 503(b)(2), 503(b)(3), 503(b)(4), or
503(b)(5), including Claims of any Professional seeking an award by the Bankruptcy Court of
compensation for services rendered or reimbursement of expenses incurred through and
including the Effective Date.

        35.    “Consummation” or “Consummate” means the occurrence of or to achieve the
Effective Date.

        36.    “Contingent Claim” means any contingent or unliquidated or unmatured Claim
asserted or which may be asserted against any Debtor.

       37.    “Credit Bid” means the purchase of the Acquired Assets by the Purchaser under
and in connection with the 363 Sale by bidding a portion of the Postpetition Lender Secured
Claims pursuant to section 363(k) of the Bankruptcy Code.

        38.     “Creditor” means any Person that is the Holder of an Allowed Claim against any
of the Debtors.




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       39.     “Creditors’ Committee” means the Official Committee of Unsecured Creditors
appointed by the U.S. Trustee in the Chapter 11 Cases.

       40.     “Cure” means the obligation owed by the Debtors and payment of Cash by the
Purchaser, respectively, with respect to Executory Contracts assumed and assigned in accordance
with the 363 Sale Documents as necessary to cure a monetary default by any Debtor in
accordance with the terms of such Executory Contract in the applicable amount set forth in the
Cure Notices with respect to such Executory Contract, or as otherwise agreed upon by the
Purchaser and the counterparty to such Executory Contract, and permit the Debtors to assume
such Executory Contract under section 365(a) of the Bankruptcy Code.

       41.    “Cure Notices” means all Notices to Counterparties to Executory Contracts and
Unexpired Leases of (I) Potential Assumption and Assignment of Executory Contracts and
Unexpired Leases and (II) Cure Amounts Filed by the Debtors, including those Filed as Docket
Nos. 119, 120, 121, 122, 123, 124, 125, 159, and 228, including all amendments and
supplements thereto and any additional such notices that may be Filed and served from time to
time.

        42.     “D&O Policies” means all primary and excess insurance policies that provide
coverage for liability related to the actions or omissions of the Debtors’ directors and officers,
and, if applicable, “tail” or “runoff” coverage for such policies.

        43.     “D&O Claims” means Causes of Action against any current or former directors
and officers of the Debtors, in their capacities as such (except for any PGV Parties), that
(a) result in a final judgment against a current or former director or officer of the Debtors for
either actual fraud, willful misconduct, or gross negligence and/or (b) are covered under the
D&O Policies; subject to the limitations and rights set forth in Section VIII.E.1. hereof.

         44.       “Debtors” means, collectively, SDI Solutions LLC and SDI Opco Holdings,
LLC.

       45.    “Debtors in Possession” means the Debtors in their capacity as debtors in
possession in the Chapter 11 Cases pursuant to sections 1101, 1107(a), and 1108 of the
Bankruptcy Code.

        46.    “DIP Financing Motion” means the Motion Of The Debtors For Entry Of
Interim And Final Orders Pursuant To 11 U.S.C. §§ 105, 361, 362, 363, 364, And 507,
Bankruptcy Rules 2002, 4001, 6004, And 9014, And Local Rule 4001-2 (I) Authorizing The
Debtors To Obtain Postpetition Financing, (II) Authorizing The Use Of Cash Collateral,
(III) Granting Liens And Providing Super-Priority Administrative Expense Status, (IV) Granting
Adequate Protection, (V) Scheduling A Final Hearing, And (VI) Granting Related Relief, Filed
by the Debtors on March 13, 2016 [Docket No. 11].

         47.       “DIP Orders” means, collectively, the Interim DIP Order and the Final DIP
Order.

       48.     “Disputed” means any Claim that is or hereafter may be listed on the Schedules
as disputed, contingent, or unliquidated, or which is objected to in whole or in part prior to the

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Claims Objection Deadline and has not been Allowed in whole or in part by settlement or Final
Order.

        49.    “Distribution” means Cash, property, interests in property or other value
distributed to Holders of Allowed Claims, or their designated agents, or Beneficiaries, as
applicable, under or pursuant to this Combined Plan and Disclosure Statement and/or the
Liquidation Trust Agreement.

       50.     “Distribution Record Date” means the record date for purposes of making
Distributions under the Plan on account of Allowed Claims, which date shall be the Effective
Date.

        51.        “Docket” means the docket in the Chapter 11 Cases maintained by the Clerk.

        52.        “Donlin Recano” means Donlin, Recano & Company, Inc.

        53.     “Effective Date” means the date on which the conditions specified in Section
XIII.B. of this Combined Plan and Disclosure Statement have been satisfied or waived and the
transactions contemplated hereunder have been consummated.

        54.        “Entity” means an entity as defined in section 101(15) of the Bankruptcy Code.

       55.    “Estates” means the estates of the Debtors created upon the commencement of
the Chapter 11 Cases, including all of the Debtors’ Assets.

        56.    “Executory Contract” means any executory contract or unexpired lease as of the
Petition Date between the Debtors and any other Person or Persons.

        57.    “File”, “Filed”, or “Filing” means file, filed, or filing with the Bankruptcy Court
in the Chapter 11 Cases.

       58.     “Final DIP Order” means the Final Order Authorizing Debtors to: (A) Use Cash
Collateral; (B) Incur Postpetition Debt; (C) Provide Adequate Protection; and (D) Grant
Certain Liens and Provide Security and Other Relief to PGV Solutions Midwest, LLC, as Lender,
entered by the Bankruptcy Court on May 3, 2016 [Docket No. 190], as the same may be
amended or modified from time to time.

        59.     “Final Order” means an Order of the Bankruptcy Court or a Court of competent
jurisdiction to hear appeals from the Bankruptcy Court, that has not been reversed, stayed,
modified, or amended and as to which the time to appeal, to petition for certiorari, or to move for
reargument or rehearing has expired and as to which no appeal, petition for certiorari, or other
proceedings for reargument or rehearing shall then be pending; provided, however, that the
possibility that a motion under Rule 59 or 60 of the Federal Rules of Civil Procedure, or any
analogous rule under the Bankruptcy Rules or applicable state court rules of civil procedure, may
be Filed with respect to such order shall not cause such order not to be a Final Order.

      60.    “First Day Motions” has the meaning set forth in Section III.D.1. of this
Combined Plan and Disclosure Statement.

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        61.    “General Unsecured Claim” means any Claim against the Debtors that arose or
is deemed or determined by the Bankruptcy Code or Bankruptcy Court, as the case may be, to
have arisen before the Petition Date and that is not: (i) a Postpetition Lender Secured Claim,
(ii) an Other Secured Claim, (iii) an Administrative Expense Claim, (iv) a Priority Tax Claim,
(v) an Other Priority Claim or any other Claim entitled to priority under the Bankruptcy Code or
any order of the Bankruptcy Court, (vi) a Postpetition Lender Deficiency Claim, or (vii) any
Claim that constitutes an Interest. For the avoidance of doubt, General Unsecured Claims shall
include Rejection Damages Claims and the Postpetition Lender Deficiency Claim.

      62.    “Global Settlement” has the meaning set forth in Section III.D.7. of this
Combined Plan and Disclosure Statement.

      63.    “Global Settlement Order” means the Order Approving Global Settlement
Among the Debtors, the Official Committee of Unsecured Creditors, and PGV Solutions
Midwest, LLC, entered by the Bankruptcy Court on May 16, 2016 [Docket No. 234].

      64.    “Governmental Unit” has the meaning set forth in section 101(27) of the
Bankruptcy Code.

        65.        “Gulf Atlantic” means Gulf Atlantic Capital Corporation.

      66.    “Headquarters Lease” means the Office Building Lease by and between 33
West Monroe Associates, LLC, as landlord, and SDI Solutions, as tenant, including any and all
amendments or modifications thereto.

        67.        “Holder” means the legal or beneficial holder of any Claim or Interest.

       68.    “Initial Administrative Expense Claim Bar Date” means July 15, 2016 at 5:00
p.m. (ET) or such other date and time as may be fixed by Order of the Bankruptcy Court as the
deadline for Holders of Administrative Expense Claims (but excluding Compensation and
Reimbursement Claims and Statutory Fees) incurred during the Initial Administrative Expense
Claim Period to File a request for payment of such Administrative Expense Claim.

        69.    “Initial Administrative Expense Claim Period” means the period of time from
the Petition Date through May 31, 2016.

     70.    “Insurance Policies” means all insurance policies of the Debtors, including any
D&O Policy.

        71.    “Intercompany Claims” means (i) any account reflecting intercompany
book entries by one Debtor with respect to the other Debtor, or (ii) any Claim that is not
reflected in such book entries and is held by a Debtor against the other Debtor, in each case
accruing before or after the Petition Date through the Effective Date, including, but not limited
to, any Claim for reimbursement, payment as guarantor or surety, or any Claim for contribution
or expenses that were allocable between the Debtors.

        72.        “Interest” means any equity or membership interest in any Debtor.


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       73.    “Interim Compensation Order” means the Administrative Order Establishing
Procedures for Interim Compensation and Reimbursement of Expenses of Professionals, entered
by the Bankruptcy Court on April 25, 2016 [Docket No. 155], as the same may be amended or
modified from time to time.

        74.   “Interim DIP Order” means the Interim Order Authorizing Debtors to: (A) Use
Cash Collateral on an Emergency Basis; (B) Incur Postpetition Debt on an Emergency Basis;
(C) Provide Adequate Protection; and (D) Grant Certain Liens and Provide Security and Other
Relief to PGV Solutions Midwest, LLC, as Lender, entered by the Bankruptcy Court on March
16, 2016 [Docket No. 36], amended by the Amendment to (I) Interim Order Authorizing Debtors
to: (A) Use Cash Collateral on an Emergency Basis; (B) Incur Postpetition Debt on an
Emergency Basis; (C) Provide Adequate Protection; and (D) Grant Certain Liens and Provide
Security and Other Relief to PGV Solutions Midwest, LLC, as Lender and (II) Postpetition Loan
Agreement, and Extension of Interim Order, entered by the Bankruptcy Court on April 5, 2016
[Docket No. 91].

        75.        “IRC” means the Internal Revenue Code of 1986, as amended.

        76.        “IRS” means the Internal Revenue Service.

        77.    “Lien” means any mortgage, pledge, deed of trust, assessment, security interest,
lease, lien, adverse claim, levy, charge, right of first refusal or surrender right, or other
encumbrance of any kind, including any “lien” as defined in section 101(37) of the Bankruptcy
Code.

       78.     “Liquidation Trust” means the trust established on the Effective Date as
described in Section VIII of this Combined Plan and Disclosure Statement and in accordance
with the Liquidation Trust Agreement.

        79.    “Liquidation Trust Agreement” means the trust agreement, in form and
substance acceptable to the Debtors and the Creditors’ Committee, to be executed by the Debtors
and the Liquidation Trustee as of the Effective Date establishing the Liquidation Trust described
in Section VIII of this Combined Plan and Disclosure Statement.

        80.    “Liquidation Trust Assets” means (i) the Plan Funding Amount, (ii) the
Retained Causes of Action, (iii) all other Assets (including any Cash) of the Debtors and the
Estates as of the Effective Date, but specifically excluding (a) all Acquired Assets, and (b) any
Cause of Action or Claim released pursuant to the terms of this Combined Plan and Disclosure
Statement, the Plan Confirmation Order, the Final DIP Order, the 363 Sale Order, or any other
Final Order of the Bankruptcy Court.

       81.      “Liquidation Trust Advisors” means any firm(s) or individual(s) retained by the
Liquidation Trustee to serve as the Liquidation Trustee’s legal counsel or provide other
professional services in connection with the performance of the Liquidation Trustee’s duties and
responsibilities under this Combined Plan and Disclosure Statement and the Liquidation Trust
Agreement.



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       82.   “Liquidation Trustee” means the Person selected by the Creditors’ Committee
and appointed to administer the Liquidation Trust, which shall be disclosed in the Plan
Supplement, with such rights, duties, and obligations as set forth herein and in the Liquidation
Trust Agreement.

        83.      “Liquidation Trust Operating Expenses” means the overhead and other
operational expenses of the Liquidation Trust including, but not limited to, (i) reasonable
compensation for the Liquidation Trustee in accordance with the Liquidation Trust Agreement,
(ii) costs and expenses incurred by the Liquidation Trustee in administering the Liquidation
Trust, (iii) Statutory Fees that may become payable after the Effective Date to the U.S. Trustee,
and (iv) any fees and expenses payable to the Liquidation Trust Advisors.

       84.     “Liquidation Trust Operating Reserve” means the reserve established by the
Liquidation Trust (from the funds constituting the Plan Funding Amount) deemed necessary by
the Liquidation Trustee to satisfy its anticipated Liquidation Trust Operating Expenses
(provided, however, that any Statutory Fees applicable to any period from the date of closing of
the 363 Sale through the Effective Date shall be payable from the Liquidation Trust Operating
Reserve solely to the extent there are insufficient funds in the Professional Fee Carveout to pay
such Statutory Fees).

       85.     “Local Rules” means the Local Rules of Bankruptcy Practice and Procedure of
the United States Bankruptcy Court for the District of Delaware, as amended from time to time.

       86.     “Order” means an order, opinion, or judgment of the Bankruptcy Court as
entered on the Docket.

      87.    “Other Priority Claim” means any Claim accorded priority in right of payment
under Bankruptcy Code section 507(a), other than a Priority Tax Claim or an Administrative
Expense Claim.

       88.   “Other Secured Claims” means a Secured Claim other than the Postpetition
Lender Secured Claim.

       89.    “Person” means an individual, a corporation, a partnership, an association, a joint
stock company, a joint venture, an estate, a trust, an unincorporated association or organization, a
governmental unit or any agency or subdivision thereof or any other entity.

       90.   “Petition Date” means March 13, 2016, the date on which these Chapter 11
Cases were commenced.

       91.         “PGV” means PGV Solutions Midwest, LLC and its designees, successors, and
assigns.

       92.    “PGV Parties” means PGV, David Gupta, Hem Gupta, John Barrett, PGV
Solutions, LLC, SDI Holding Corp., Sharee Wolff, CJKW, LLC, and each of their respective
Related Persons.



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       93.     “Plan Confirmation Date” means the date on which the Clerk of the Bankruptcy
Court enters the Plan Confirmation Order on the Docket.

       94.     “Plan Confirmation Hearing” means the hearing to be held by the Bankruptcy
Court to consider approval and confirmation of this Combined Plan and Disclosure Statement, as
such hearing may be adjourned or continued from time to time.

       95.    “Plan Confirmation Order” means an order entered by the Bankruptcy Court
approving and confirming this Combined Plan and Disclosure Statement under sections 1125 and
1129 of the Bankruptcy Code.

       96.   “Plan Documents” means this Combined Plan and Disclosure Statement, the
Plan Supplement, and all of the exhibits and schedules attached to any of the foregoing.

        97.   “Plan Funding Amount” means an aggregate amount of Cash equal to $500,000
allocated by PGV from its Collateral or other property which will be held by the Debtors after
consummation of the 363 Sale and which, on the Effective Date, shall be transferred to the
Liquidation Trust to be used to (i) fund the Liquidation Trust Operating Reserve as necessary or
appropriate to pay all Liquidation Trust Operating Expenses, and (ii) make Distributions to
Beneficiaries in accordance with this Combined Plan and Disclosure Statement and the
Liquidation Trust Agreement.

        98.    “Plan Supplement” means the appendix of schedules and exhibits to be Filed at
least ten (10) days prior to the Plan Confirmation Hearing containing, among other things, the
Liquidation Trust Agreement, as may be amended, modified, and/or supplemented.

        99.     “Postpetition Collateral” means the Collateral pledged by the Debtors in favor
of the Postpetition Lender to secure the Postpetition Lender Claims, as described in more detail
in the Postpetition Credit Agreement and the Final DIP Order.

       100. “Postpetition Credit Agreement” means the Senior Secured, Super-Priority
Debtor-in-Possession Loan and Security Agreement, dated as of March 13, 2016, by and among
SDI Solutions, as borrower, SDI Opco, as guarantor, and the Postpetition Lender, as lender,
together with all schedules and exhibits thereto, as the same may be amended, modified, or
supplemented from time to time.

       101. “Postpetition Credit Documents” means the Postpetition Credit Agreement, the
DIP Orders, and all documents, instruments, guarantees, and agreements executed and delivered
in connection therewith.

       102. “Postpetition Lender” means PGV, in its capacity as lender under the
Postpetition Credit Documents.

       103. “Postpetition Lender Claims” means all Claims of the Postpetition Lender
against the Debtors or the Estates arising from, related to, arising under, or in connection with
the Postpetition Credit Documents for any and all outstanding obligations thereunder, taking into
account all payments or other Distributions made by any of the Debtors or the Estates to the
Postpetition Lender prior to the Effective Date on account of such Claims (pursuant to the DIP

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Orders, any other Final Order of the Bankruptcy Court, or otherwise) and the amount of any
offset of such Claims resulting from the Credit Bid by PGV in connection with the 363 Sale and
363 Sale Documents. The Postpetition Lender Claims include the Postpetition Lender Secured
Claim and the Postpetition Lender Deficiency Claim.

        104. “Postpetition Lender Deficiency Claim” means the unsecured portion of the
Postpetition Lender Claims under section 506 of the Bankruptcy Code remaining unsatisfied
after taking into account the amount of PGV’s Credit Bid in connection with the 363 Sale and
363 Sale Documents. The Postpetition Lender Deficiency Claim is deemed Allowed under this
Combined Plan and Disclosure Statement.

       105. “Postpetition Lender Secured Claim” means the Secured Claim of the
Postpetition Lender in connection with all of the Debtors’ outstanding obligations under and in
connection with the Postpetition Credit Documents remaining unsatisfied after taking into
account the amount of PGV’s credit bid under section 363(k) of the Bankruptcy Code in
connection with the 363 Sale and 363 Sale Documents. The Postpetition Lender Secured Claim
is deemed Allowed under this Combined Plan and Disclosure Statement.

       106. “Prepetition Credit Agreement” means that certain Amended and Restated
Credit Agreement, dated as of June 17, 2013, among PGV, as Prepetition Lender, SDI Solutions,
as borrower, and SDI Opco, as guarantor, as amended, restated, reaffirmed, or supplemented
from time to time.

       107. “Prepetition Credit Documents” means the Prepetition Credit Agreement and
all documents, instruments, guarantees, and agreements executed and delivered in connection
therewith.

       108. “Prepetition Lender” means PGV, as successor to Fifth Third Bank, in its
capacity as lender under the Prepetition Credit Documents.

        109.       “Prepetition Loans” has the meaning set forth in Section III.B. hereof.

        110.       “Prepetition Opco Guaranty” has the meaning set forth in Section III.B. hereof.

        111. “Prepetition Revolving Commitment” has the meaning set forth in Section
III.B. hereof.

        112.       “Prepetition Term Loan” has the meaning set forth in Section III.B. hereof.

       113. “Priority Tax Claim” means a Claim that is entitled to priority under section
507(a)(8) of the Bankruptcy Code.

       114. “Privilege” means the attorney client privilege, work product protections or other
immunities (including without limitation those related to common interests or joint defenses with
other parties), or protections from disclosure of any kind held by the Debtors or their Estates.




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       115. “Professional” means any professional person employed by the Debtors or the
Creditors’ Committee in the Chapter 11 Cases pursuant to section 327, 363, or 1103 of the
Bankruptcy Code or otherwise pursuant to an Order of the Bankruptcy Court.

       116. “Professional Fee Carveout” means the Carveout as defined in the Final DIP
Order, which amounts shall be funded and paid by PGV in accordance with the Final DIP Order
and the Global Settlement.

       117. “Professional Fee Carveout Reserve” means a reserve account established in an
amount necessary satisfy in full the Professional Fee Carveout under and on the terms set forth in
the Final DIP Order, less any amounts previously paid towards the fees and expenses of
Professionals during the Chapter 11 Cases prior to the Effective Date in accordance with the
Final DIP Order and the Interim Compensation Order, which reserve shall be held by the
Liquidating Trustee, segregated from other funds and Liquidation Trust Assets, and used for the
payment of Allowed Compensation and Reimbursement Claims and any other fees, expenses,
and payments described in the Professional Fee Carveout, subject to the Final DIP Order.

        118. “Pro Rata Share” means, with respect to any Distribution on account of any
Allowed Claim, the ratio that the amount of such Allowed Claim bears to the aggregate amount
of all Allowed Claims in the same Class; provided that for any Distribution on account of any
Allowed Claim in Classes 4A or 4B, Pro Rata Share shall refer to the ratio that the amount of
such Allowed Claim bears to the aggregate amount of all Allowed Claims in both Classes 4A
and 4B.

      119.         “Purchaser” means PGV, in its capacity as purchaser under the 363 Sale
Agreement.

       120. “Rejection Damages Claim” means any Claim under section 502(g) of the
Bankruptcy Code arising from, or relating to, the rejection of an Executory Contract pursuant to
section 365(a) of the Bankruptcy Code by the Debtors, as limited, in the case of a rejected
employment contract or unexpired lease, by section 502(b) of the Bankruptcy Code.

        121. “Related Persons” means, with respect to any Person, such Person’s
predecessors, successors, assigns and present and former shareholders, affiliates (whether by
operation of law or otherwise), subsidiaries, principals, employees, agents, officers, directors,
managers, trustees, partners, members, professionals, representatives, advisors, attorneys,
financial advisors, accountants, investment bankers, and consultants, and any Person claiming by
or through them.

        122. “Released Parties” means the Debtors, PGV (whether in its capacity as
Prepetition Lender, Postpetition Lender, or Purchaser), the Creditors’ Committee and members
of the Creditors’ Committee (solely in their capacity as members of the Creditors’ Committee),
and each of their respective Related Persons.

       123. “Retained Avoidance Actions” means all Avoidance Actions not (a) purchased
by and transferred to the Purchaser under the 363 Sale Documents, or (b) released by this
Combined Plan and Disclosure Statement, the Plan Confirmation Order, the Final DIP Order, the
363 Sale Order, or any other Final Order of the Bankruptcy Court.

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       124. “Retained Causes of Action” means all Causes of Action not (a) purchased by
and transferred to the Purchaser under the 363 Sale Documents, including Retained Avoidance
Actions and D&O Claims, or (b) released by this Combined Plan and Disclosure Statement, the
Plan Confirmation Order, the Final DIP Order, the 363 Sale Order, or any other Final Order of
the Bankruptcy Court.

        125. “Schedules” means the schedules of assets and liabilities and statements of
financial affairs Filed by the Debtors pursuant to section 521 of the Bankruptcy Code and
Bankruptcy Rule 1007(b), as such schedules or statements may be amended or supplemented
from time to time.

      126. “SDI Opco” means SDI Opco Holdings, LLC, a Delaware limited liability
company, one of the Debtors in these Chapter 11 Cases.

        127. “SDI Opco General Unsecured Claim” means a General Unsecured Claim
against SDI Opco.

        128.       “SDI Opco Interest” means an Interest in SDI Opco.

      129. “SDI Solutions” means SDI Solutions LLC, a Delaware limited liability
company, one of the Debtors in these Chapter 11 Cases.

        130. “SDI Solutions General Unsecured Claim” means a General Unsecured Claim
against SDI Solutions.

        131.       “SDI Solutions Interest” means an Interest in SDI Solutions.

       132. “Second Administrative Expense Claim Bar Date” means the first Business
Day that is thirty (30) days after the Effective Date or such other date ordered by the Bankruptcy
Court as the deadline for Holders of Administrative Expense Claims (but excluding
Compensation and Reimbursement Claims and Statutory Fees) incurred during the Second
Administrative Expense Claim Period to File a request for payment of such Administrative
Expense Claim.

        133. “Second Administrative Expense Claim Period” means the period of time from
June 1, 2016 through the Effective Date.

        134. “Secured Claim” means a Claim (i) that is secured by a Lien on any Assets,
which Lien is not subject to avoidance under the Bankruptcy Code or otherwise invalid under the
Bankruptcy Code or applicable state law, or a Claim that is subject to a valid right of the Creditor
of setoff against amounts owed to the Debtors; (ii) to the extent of the value of the Holder’s
interest in the Estates’ interest in such Assets or to the extent of the amount subject to a valid
right of setoff, as applicable; and (iii) the amount of which (A) is undisputed by the Debtors or
(B) if disputed by the Debtors, such dispute is settled by written agreement between the Debtors
or the Liquidation Trustee and the Holder of such Claim or determined, resolved, or adjudicated
by Final Order.



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        135. “Statutory Fees” means any and all fees payable to the U.S. Trustee pursuant to
section 1930 of title 28 of the United States Code and any interest thereupon.

        136. “Subordinated Other Claim” means any Claim asserted against any Debtor that
is subordinated pursuant to either sections 510(b) or 510(c) of the Bankruptcy Code.

       137. “Unclaimed Distribution” means a Distribution that is not claimed by a Holder
of an Allowed Claim on or prior to the Unclaimed Distribution Deadline.

       138. “Unclaimed Distribution Deadline” means ninety (90) days from the date the
Liquidation Trustee makes a Distribution.

       139. “Voting Deadline” means that date and time defined as the voting deadline in
Section IV.A.8. of this Combined Plan and Disclosure Statement.

      140.         “U.S. Trustee” means the Office of the United States Trustee for the District of
Delaware.

B.      Interpretation; Application of Definitions and Rules of Construction

               Wherever from the context it appears appropriate, each term stated in either the
singular or the plural shall include both the singular and the plural and pronouns stated in the
masculine, feminine, or neuter gender shall include the masculine, feminine, and neuter. Unless
otherwise specified, all section, article, schedule, or exhibit references in this Combined Plan and
Disclosure Statement are to the respective section in, article of, Schedule to, or Exhibit to this
Combined Plan and Disclosure Statement. The words “herein,” “hereof,” “hereto,” “hereunder,”
and other words of similar import refer to this Combined Plan and Disclosure Statement as a
whole and not to any particular section, subsection or clause contained in this Combined Plan
and Disclosure Statement. The rules of construction contained in section 102 of the Bankruptcy
Code shall apply to the construction of this Combined Plan and Disclosure Statement. A term
used herein that is not defined herein, but that is used in the Bankruptcy Code, shall have the
meaning ascribed to that term in the Bankruptcy Code. The headings in this Combined Plan and
Disclosure Statement are for convenience of reference only and shall not limit or otherwise affect
the provisions of this Combined Plan and Disclosure Statement. Any reference to the
“Liquidation Trustee” shall be deemed to include a reference to the “Liquidation Trust” and any
reference to the “Liquidation Trust” shall be deemed to include a reference to the “Liquidation
Trustee” unless the context otherwise requires. Bankruptcy Rule 9006 shall apply to all
computations of time periods prescribed or allowed by this Combined Plan and Disclosure
Statement unless otherwise set forth herein or provided by the Bankruptcy Court.

                                         III. BACKGROUND

              On the Petition Date, the Debtors Filed voluntary petitions for relief under chapter
11 of the Bankruptcy Code initiating these Chapter 11 Cases. Following the Petition Date, the
Debtors remained in possession of their assets and management of their businesses as Debtors in
Possession pursuant to sections 1107 and 1108 of the Bankruptcy Code.



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A.      Overview of the Debtors’ Business

        1.         Description of the Debtors’ Operations

                SDI Solutions is a privately-held company headquartered in Chicago, Illinois with
a financial institution services group located in Charleston, South Carolina. SDI Solutions also
has offices in Washington DC, Los Angeles, and Dallas. As of the Petition Date, SDI Solutions
was in the security system and IT industry, and provided advanced security systems integration
and managed services, ranging from strategic advisory services on system selection to long-term
operational and technical support for clients’ physical security/IT systems and infrastructure.

               SDI Solutions’ customers included Governmental Units and the numerous
agencies that are regulated by them, such as airports, port authorities, utilities, financial
institutions, and commercial enterprises. SDI Solutions’ expertise included designing,
implementing, and/or managing, among other things, security IT managed services, video
surveillance systems, access control, advanced security systems monitoring, identity
management, and enterprise systems integration.

                SDI Solutions’ predecessor was founded in 1989 as an information services
division of Environmental Systems Design, Inc., a premier building engineering firm. In 1996,
the division emerged from the parent as System Development.Integration, LLC with a focus on
providing information technology solutions and advisory services to Governmental Units and
various entities governed by them.

              On June 18, 2013, System Development.Integration, LLC acquired I-Sys
Corporation in order to expand its business into the private sector and, in August 2013, System
Development.Integration acquired X7 Systems Integration, a Washington, D.C.-based
integration company. Effective January 1, 2015, System Development.Integration, Orion
Systems Group LLC (formerly d/b/a X7 Systems Integration), and SDI-isys, LLC merged to
form SDI Solutions.

        2.         The Debtors’ Organizational Structure

               SDI Opco holds 100% of the membership interests SDI Solutions. GC-SDI
Holdco, Inc., a non-debtor, holds a 93.89% membership interest in SDI Opco, with certain
individual non-debtors holding the remaining 6.11% membership interests in SDI Opco.

B.      The Debtors’ Prepetition Capital Structure

               In June 2013, SDI Solutions entered into the Prepetition Credit Agreement with
Fifth Third Bank, as lender. Pursuant to the Prepetition Credit Agreement, Fifth Third Bank
agreed to make a consolidated term loan to SDI Solutions in the aggregate amount of $9,000,000
(the “Prepetition Term Loan”) and extend a revolving line of credit facility to SDI Solutions in
an amount not to exceed $8,000,000 (the “Prepetition Revolving Commitment” and, together
with the Prepetition Term Loan, the “Prepetition Loans”). SDI Solutions’ obligations under the
Prepetition Credit Agreement were guaranteed by SDI Opco pursuant to a Guaranty, dated as of
August 10, 2012 (as amended, restated, reaffirmed, or supplemented from time to time, the
“Prepetition Opco Guaranty”).

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              As security for the SDI Solutions’ obligations under the Prepetition Credit
Agreement and SDI Opco’s obligations under the Opco Guaranty, each Debtor granted to Fifth
Third Bank a Lien on substantially all of each Debtor’s Assets, including, with respect to SDI
Opco, a pledge and security interest in its membership interests in SDI Solutions.

               In February 2016, pursuant to a Loan Purchase and Assumption Agreement by
and between Fifth Third Bank, as seller, and PGV, as buyer, PGV purchased from Fifth Third
Bank all of Fifth Third Bank’s rights, titles, obligations, and interests in, to, and under the
Prepetition Credit Documents, and thereafter became the Prepetition Lender under the
Prepetition Credit Documents.

               As of the Petition Date, the aggregate amount outstanding in connection with the
Prepetition Term Loan was approximately $7,870,000 and the aggregate amount outstanding in
connection with the Prepetition Revolving Commitment was approximately $5,220,000.

C.      Events Precipitating the Chapter 11 Filing

                Over the course of the two years preceding the Petition Date, the Debtors
experienced significant liquidity issues that hindered their ability to make payments in the
ordinary course of business. Revenues declined in part due to the expiration of certain key
contracts, revised terms on certain renewed contracts that were less favorable for the Debtors
than prior contracts, and unexpected delays in 2015 in plans to rebuild the Debtors’ sales force.

                In addition, the Debtors were unable to successfully integrate the Washington
D.C. operations following the acquisition thereof in August 2013, and the Debtors experienced
substantial losses on various large lump sum contracts that were assigned in connection with the
acquisition. As a result, the Debtors ultimately determined that the Washington D.C. operations
were not viable in the long term, and such operations were discontinued effective in the second
half of 2015.

                After careful consideration and consultation with their advisors, including Gulf
Atlantic, which, at the time, was providing restructuring advisory services to the Debtors, the
Debtors determined that it was necessary to pursue a restructuring or financing transaction with
one or more potential purchasers or other financing or strategic partners. Beginning in
November 2015, the Debtors, together with their advisors, identified and contacted more than
thirty (30) potential strategic or financial partners regarding a potential financing, sale, or other
restructuring transaction. Non-disclosure agreements were executed by thirteen (13) of such
parties, and a confidential information memorandum prepared by the Debtors and their advisors
containing information regarding, among other things, the Debtors’ background and overview,
financial performance and projections, and potential transaction scenarios, were distributed to
each party executing a non-disclosure agreement. In addition, the Debtors and their advisors
provided these parties with access to a dataroom containing various documents and information
regarding the Debtors, their businesses, and finances.

                The Debtors and their advisors were in regular contact with these entities and
facilitated such entities’ due diligence efforts; however, the Debtors were unable to reach an
agreement with any party regarding a potential sale or financing transaction. The Debtors,


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however, identified some parties, including PGV, that expressed interest in pursuing a
transaction directly with Fifth Third Bank to purchase and acquire Fifth Third Bank’s rights and
interests under the Prepetition Credit Documents. PGV and others negotiated such a transaction
directly with Fifth Third Bank, and the Debtors and their advisors cooperated with and facilitated
any due diligence requests.

               In February 2016, PGV entered into an agreement with Fifth Third Bank pursuant
to which PGV acquired all of Fifth Third Bank’s rights, titles, obligations, and interests under
and in connection with the Prepetition Credit Documents. Upon consummation of PGV’s
transactions with Fifth Third Bank and due to the Debtors’ dire liquidity situation, the Debtors
immediately commenced negotiations with PGV regarding funding needs and a potential sale or
other restructuring transaction. The parties engaged in extensive, arm’s length negotiations and
ultimately were able to reach an agreement regarding the terms of a stalking horse asset purchase
agreement involving a sale transaction pursuant to section 363 of the Bankruptcy Code pursuant
to which PGV agreed to serve as the stalking horse purchaser, subject to higher or otherwise
better offers.

               The consideration provided under the stalking horse asset purchase agreement
consisted of a Credit Bid with respect to a portion of PGV’s Secured Claims against the Debtors,
the assumption by PGV of certain liabilities set forth in the stalking horse asset purchase
agreement, and the payment of all Cure costs relating to Executory Contracts to be assumed and
assigned to PGV.

                The Debtors and PGV also reached an agreement on the terms of a postpetition
financing facility, described in more detail below, providing for certain advances to the Debtors
under a revolving credit facility to fund the Debtors’ operating expenses during the Chapter 11
Cases and the costs and expenses of administering the Chapter 11 Cases, all in accordance with a
certain budget.

                   The Chapter 11 Cases were then commenced on the Petition Date—i.e., March
13, 2016.

D.      The Chapter 11 Cases

              The following is a brief description of certain material events that have occurred
during these Chapter 11 Cases.

        1.         First Day Orders (other than the DIP Orders)

               On the Petition Date, in addition to the voluntary petitions for relief Filed by the
Debtors, the Debtors Filed a number of motions and applications (collectively, the “First Day
Motions”) seeking certain “first day” relief. A summary of the relief sought and obtained
pursuant to the First Day Motions is set forth below:

                         Joint Administration Motion. Following consideration of the Debtors’
                          Motion for an Order Directing Joint Administration of these Cases
                          Pursuant to Fed. R. Bankr. P.1015(b) [Docket No. 3], the Bankruptcy


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                         Court entered an Order [Docket No. 28] authorizing the joint
                         administration of the Chapter 11 Cases for procedural purposes only.

                        Consolidated Creditor List Motion. Following consideration of the
                         Debtors’ Motion for Entry of an Order (I) Authorizing the Debtors to File
                         (A) A Consolidated List of Creditors in Lieu of Submitting a Separate
                         Mailing Matrix for Each Debtor, and (B) A Consolidated List of the
                         Debtors Twenty Largest Unsecured Creditors, and (II) Approving the
                         Manner of Serving the Notice of Commencement [Docket No. 4], the
                         Bankruptcy Court entered an Order [Docket No. 29], among other things,
                         authorizing the Debtors to submit a consolidated list of creditors and File a
                         consolidated list of the Debtors’ twenty largest unsecured creditors.

                        Application to Retain Donlin Recano. Following consideration of the
                         Debtors’ Application for an Order Authorizing Employment and Retention
                         of Donlin, Recano & Company, Inc. as Claims and Noticing Agent for the
                         Debtors Pursuant to 28 U.S.C. § 156(c), 11 U.S.C.§ 105(a), Federal Rule
                         of Bankruptcy Procedure 2002(f), and Local Bankruptcy Rule 2002-1(f)
                         [Docket No. 5], the Bankruptcy Court entered an Order [Docket No. 30]
                         authorizing the Debtors to retain Donlin Recano as Claims Agent in the
                         Chapter 11 Cases.3

                        Cash Management Motion. Following consideration of the Motion of the
                         Debtors for Entry of Interim and Final Orders (I) Authorizing the
                         Continued Use of the Debtors Cash Management System, Existing Bank
                         Accounts, and Business Forms, and (II) Extending the Time to Comply
                         with the Requirements of Section 345(b) of the Bankruptcy Code [Docket
                         No. 6], the Bankruptcy Court entered interim and final Orders [Docket
                         Nos. 31 and 85] that, among other things, (i) authorized the Debtors to
                         continue to use (a) their current cash management system, and (b) their
                         existing bank accounts, checks and business forms, including authorizing
                         the Debtors to open and close certain bank accounts; (ii) waived certain
                         bank account and related requirements of the U.S. Trustee; and (iii)
                         authorized all banks participating in the cash management system to honor
                         certain transfers and charge bank fees and certain other amounts.

                        Employee Wages/Benefits Motion. Following consideration of the
                         Debtors’ Motion for Entry of Interim and Final Orders Authorizing
                         Debtors to Pay Prepetition Wages, Compensation, and Employee Benefits
                         [Docket No. 7], the Bankruptcy Court entered interim and final Orders
                         [Docket Nos. 32 and 86] authorizing the Debtors to, among other things,
                         pay and honor certain prepetition employee obligations, including


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        Additionally, on April 25, 2015, the Bankruptcy Court entered an Order [Docket No. 154] authorizing the
        Debtors to retain Donlin Recano to serve as administrative agent to the Debtors in providing certain
        administrative services falling outside the scope of 28 U.S.C. § 156(c).

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                          prepetition payroll obligations, reimbursable expenses, and benefit plan
                          obligations.

                         Utilities Motion. Following consideration of the Debtors’ Motion for
                          Interim and Final Orders (I) Approving Debtors' Proposed Form of
                          Adequate Assurance of Payment, (II) Establishing Procedures for
                          Resolving Objections by Utility Companies, and (III) Prohibiting Utility
                          Companies from Altering, Refusing, or Discontinuing Service [Docket
                          No. 8], the Bankruptcy Court entered interim and final Orders [Docket
                          Nos. 33 and 87] authorizing and approving the provision of adequate
                          assurance of payment to the Debtors’ utility service providers under
                          section 366 of the Bankruptcy Code, while allowing the Debtors to avoid
                          the threat of imminent termination of their utility services from those
                          utility companies.

                         Insurance Motion. Following consideration of the Motion of the Debtors
                          for Entry of Interim and Final Orders (I) Authorizing Debtors to (A)
                          Maintain Existing Insurance Policies and Pay All Insurance Obligations
                          Arising Thereunder, and (B) Renew, Revise, Extend, Supplement,
                          Change, or Enter Into New Insurance Policies, and (II) Granting Certain
                          Related Relief [Docket No. 9], the Bankruptcy Court entered interim and
                          final Orders [Docket Nos. 35 and 88] authorizing the Debtors to, among
                          other things, pay any outstanding obligations under the Debtors’ existing
                          insurance policies and renew, revise, extend, supplement, change, or enter
                          into new insurance policies.

                         Tax Motion. Following consideration of the Debtors’ Motion for Interim
                          and Final Orders Authorizing the Debtors to Pay Certain Prepetition Taxes
                          and Fees [Docket No. 10], the Bankruptcy Court entered interim and final
                          Orders [Docket Nos. 34 and 89] authorizing the Debtors to, among other
                          things, pay prepetition taxes in the ordinary course of their business.

        2.         Appointment of Creditors’ Committee

                On March 24, 2016, the U.S. Trustee appointed the Creditors’ Committee
consisting of the following five (5) members: (a) I-sys Corp.; (b) AP Adler BDP LLC; (c) March
Networks, Inc.; (d) Inoc LLC; and (e) Derek Radoski. On April 14, 2016, Inoc LLC notified
counsel to the Creditors’ Committee and the U.S. Trustee of its resignation from the Creditors’
Committee. No additional member was appointed by the U.S. Trustee to replace Inoc LLC on
the Creditors’ Committee.

        3.         Employment of Professionals and Advisors

               On April 5, 2016, the Bankruptcy Court entered an order [Docket No. 90]
authorizing the Debtors to retain Gulf Atlantic as financial advisor to the Debtors effective as of
the Petition Date. Additionally, on April 25, 2016, the Bankruptcy Court entered an order



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[Docket No. 153] authorizing the Debtors to retain DLA Piper LLP (US) as general bankruptcy
counsel to the Debtors effective as of the Petition Date.

               On May 9, 2016, the Bankruptcy Court entered orders [Docket Nos. 200, 201, and
202] authorizing the Creditors’ Committee to retain the following professionals effective as of
March 24, 2016: (i) Arent Fox LLP as co-counsel to the Creditors’ Committee; (ii) Womble
Carlyle Sandridge & Rice, LLC as co-counsel to the Creditors’ Committee; and
(iii) EisnerAmper LLP as financial advisor to the Creditors’ Committee.

        4.         Schedules and Section 341(a) Meeting of Creditors

              On April 19, 2016, the Debtors Filed their Schedules. On April 22, 2016, the U.S.
Trustee conducted the meeting of creditors in these Chapter 11 Cases pursuant to section 341(a)
of the Bankruptcy Code.

        5.         Postpetition Financing and Cash Collateral Orders

               On the Petition Date, the Debtors also Filed the DIP Financing Motion. On
March 16, 2016, the Bankruptcy Court entered the Interim DIP Order, among other things,
authorizing the Debtors to execute and perform under the Postpetition Credit Documents, incur
postpetition debt thereunder up to an aggregate amount of $1.7 million, use cash collateral in
accordance with the Interim DIP Order and an agreed budget, and granting certain related relief.

               On April 5, 2016, the Bankruptcy Court entered an amendment to the Interim DIP
Order, authorizing the Debtors to incur postpetition debt up to an aggregate amount of $4.1
million, and scheduling a final hearing for April 29, 2016, to consider the relief requested in the
DIP Financing Motion on a final basis.

               Following its formation, the Creditors’ Committee, PGV, and the Debtors, and
each of their respective advisors, engaged in extensive, arms’-length, good faith negotiations
regarding, among other things, the Debtors’ request for postpetition financing. Ultimately, and
as discussed in more detail below, the parties negotiated and agreed to the terms of a proposed
final order on the DIP Financing Motion, which was submitted to the Bankruptcy Court and
entered on May 3, 2016 (i.e., the Final DIP Order), and which incorporated the terms of the
Global Settlement. Under the Final DIP Order, the Debtors were authorized to, among other
things, borrow up to the full amount of the postpetition commitments under the Postpetition
Credit Documents and use such funds in accordance with the terms of the Final DIP Order,
Postpetition Credit Documents, and the Approved Budget annexed to the Final DIP Order,
including to repay in full all outstanding obligations under the Prepetition Credit Documents.
Accordingly, all of PGV’s claims under and in connection with the Prepetition Credit Documents
have been satisfied and paid in full and the Debtors have no remaining payment obligations
thereunder.

               Without the funds provided under the Postpetition Credit Documents, the Debtors
would not have had sufficient available sources of working capital and financing to, among other
things, continue operating in the Chapter 11 Cases and effectuate the orderly 363 Sale of their
Assets. Thus, entry of the Interim DIP Order and the Final DIP Order were necessary to
preserve, maintain, and enhance the value of the Debtors’ Assets for the benefit of the Estates.

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        6.         Sale of Substantially All of the Debtors’ Assets

                   a.     Marketing Process and Bidding Procedures Order

                Prior to the Petition Date, and due to the Debtors’ liquidity constraints, the
Debtors, after consultation with their advisors, determined it was necessary to pursue a sale or
restructuring transaction with one or more potential purchasers or other financing or strategic
partners. Accordingly, the Debtors, with the assistance of their advisors, including Gulf Atlantic,
conducted a marketing process to explore a broad range of strategic financing and sale options
for the Debtors and their Assets. Despite the marketing efforts over an approximate four-month
period prior to the Petition Date, no valid offers were submitted for a sale transaction involving
the Debtors’ assets.

                Following its acquisition of all asserted claims, liens, rights and interests of Fifth
Third under the Prepetition Credit Documents, the Debtors negotiated and entered into a stalking
horse asset purchase agreement with PGV as the Purchaser. On the Petition Date, the Debtors
Filed the 363 Sale Motion seeking, among other things, entry of the Bid Procedures Order (a)
approving the Bid Procedures in connection with the sale of substantially all of the Debtors’
Assets, (b) authorizing the Debtors to enter into the stalking horse purchase agreement, subject to
higher or otherwise better offers, (c) approving procedures relating to the assumption and
assignment of Executory Contracts, (d) scheduling an auction and sale approval hearing, and
(e) granting related relief.

                On April 5, 2016, after extensive negotiations among the Debtors, PGV, and the
Creditors’ Committee, the Bankruptcy Court entered the Bid Procedures Order, among other
things, (i) approving the Bid Procedures, (ii) approving a bid deadline of May 9, 2016 at 5:00
p.m. (ET), (iii) scheduling an auction, in the event more than one Qualified Bid (as defined in the
Sale Motion) was timely received, for May 12, 2016 at 10:00 a.m. (ET), and (iii) scheduling a
hearing for May 16, 2016 to consider approval of a sale transaction with the Successful Bidder
(as defined in the Sale Motion).

                Following the Petition Date, the Debtors and their advisors continued their
marketing efforts, and Gulf Atlantic contacted more than ninety entities—including those
identified by the Creditors’ Committee—to advise them of the proposed sale process in the
Chapter 11 Cases, provide additional marketing materials, and determine if any possessed any
interest in pursuing a sale transaction with the Debtors. Notwithstanding the marketing efforts,
no Qualified Bid (other than the stalking horse bid of the Purchaser) was submitted on or before
the bid deadline. Accordingly, the Debtors cancelled the auction and the Purchaser was named
the Successful Bidder.

                   b.     363 Sale Order and Sale of Assets to the Purchaser

              On May 16, 2016, the Bankruptcy Court entered the 363 Sale Order authorizing
and approving, among other things, the 363 Sale Agreement and the sale and transfer of the
Acquired Assets to the Purchaser in accordance therewith. The Debtors anticipate that the 363
Sale will be consummated on or about May 31, 2016, or as soon thereafter as is reasonably



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practicable. The terms of the 363 Sale are consistent with and cannot be in derogation of the
terms of the Global Settlement.

        7.         Global Settlement

               As noted above, following its formation, the Creditors’ Committee engaged in
extensive arm’s-length, good faith negotiations with respect to the Debtors’ proposed
postpetition financing arrangement and the sale process. These negotiations culminated in a
global settlement among the parties (the “Global Settlement”) that served as the foundation for
this Combined Plan and Disclosure Statement.

                   The Global Settlement provides for, among other things,

                         the allocation by PGV of $500,000 in Cash from its collateral or other
                          property to be used by the Liquidation Trust in accordance with this
                          Combined Plan and Disclosure Statement, including to make Distributions
                          to Holders of Allowed General Unsecured Claims;

                         an agreement by PGV not to assert any Lien on various Claims and
                          Causes of Action, including the Retained Avoidance Actions and the
                          D&O Claims, and the transfer of such Claims and Causes of Action to the
                          Liquidation Trust;

                         PGV forgoing and waiving any right to receive a Distribution on account
                          of its Postpetition Lender Deficiency Claim, which will enhance any
                          recoveries for other Holders of Allowed General Unsecured Claims;

                         a withdrawal by the Creditors’ Committee of any objection to, among
                          other things, the entry of the Final DIP Order and PGV’s right to Credit
                          Bid up to the amount of its asserted Secured Claims in connection with the
                          363 Sale;

                         the assumption and payment by PGV, in connection with the 363 Sale, of
                          all post-petition sales and use tax liabilities of the Debtors and the Estates,
                          all post-petition unpaid accounts payable of the Debtors incurred in the
                          ordinary course of business, and all unpaid Allowed Administrative
                          Expense Claims under section 503(b)(9) of the Bankruptcy Code, in the
                          aggregate estimated amount of approximately $950,000; and

                         in connection with the 363 Sale, the assumption by the Debtors and
                          assignment to PGV of a significant number of Executory Contracts and
                          the payment by PGV of all Cure Costs related thereto.

                The Debtors believe that the Global Settlement and 363 Sale provide for the
satisfaction in full of all or substantially all Allowed Administrative Expenses Claims, other than
Compensation and Reimbursement Claims and Statutory Fees, which are being satisfied in
accordance with the terms of this Combined Plan and Disclosure Statement.


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               On May 3, 2016, the Debtors Filed a motion on an expedited basis seeking
approval of the Global Settlement pursuant to sections 105(a) and 363 of the Bankruptcy Code
and Bankruptcy Rule 9019. Following a hearing on May 16, 2016, the Bankruptcy Court entered
the Global Settlement Order approving the Global Settlement.

        8.         Rejection of Executory Contracts

                On May 9, 2016, the Debtors Filed a motion seeking to establish procedures for
the rejection of Executory Contracts not assumed by the Debtors and assigned to the Purchaser in
connection with the 363 Sale. Under such proposed procedures, upon determining that one or
more Executory Contracts should be rejected, the Debtors may File and serve a notice on the
counterparties to such Executory Contracts with respect to the rejection setting forth, among
other things, the effective date of the rejection and procedures for counterparties to File
objections to the rejection. The Filing of such motion is without prejudice to the Debtors’ right
to seek to reject any Executory Contracts by separate motion.

                              IV. CONFIRMATION AND VOTING

A.      Confirmation Procedure

        1.         Plan Confirmation Hearing

               The Bankruptcy Code, Bankruptcy Rules, and Local Rules require the Bankruptcy
Court, after appropriate notice, to hold a hearing on confirmation of this Combined Plan and
Disclosure Statement. On, or as promptly as practicable after the Filing of this Combined Plan
and Disclosure Statement, the Debtors will request, pursuant to the requirements of the
Bankruptcy Code, the Bankruptcy Rules, and the Local Rules, including Local Rule 3017-2, that
the Bankruptcy Court schedule the Plan Confirmation Hearing to consider, among other things,
final approval of this Combined Plan and Disclosure Statement under section 1125 of the
Bankruptcy Code and confirmation of this Combined Plan and Disclosure Statement under
section 1129 of the Bankruptcy Code. Notice of the Plan Confirmation Hearing will be provided
to all known Creditors, Interest Holders, and other parties in interest. The Plan Confirmation
Hearing may be adjourned from time to time by the Bankruptcy Court without further notice
except for an announcement of the adjourned date made at the Plan Confirmation Hearing or any
subsequent adjourned Plan Confirmation Hearing.

                Any objection to confirmation of this Combined Plan and Disclosure Statement
must be in writing, must conform to the Bankruptcy Rules, must set forth the name of the
objector, the nature and amount of Claims or Interests held or asserted by the objector against the
Debtors, the basis for the objection and the specific grounds of the objection, and must be Filed
with the Bankruptcy Court, with a copy to chambers, together with proof of service thereof, and
served upon: (i) counsel to the Debtors, DLA Piper LLP (US), 1251 Avenue of the Americas,
New York, New York 10020 (Attn: Thomas R. Califano, Esq. and Daniel G. Egan, Esq.) and
1201 North Market Street, Suite 2100, Wilmington, Delaware 19801 (Attn: Stuart M. Brown,
Esq. and Kaitlin MacKenzie Edelman, Esq.); (ii) counsel to the Committee, Arent Fox LLP,
1675 Broadway, New York, New York 10019 (Attn: George P. Angelich, Esq. and Beth M.
Brownstein, Esq.) and 1717 K Street, NW, Washington, DC 20006 (Attn: Jeffrey N. Rothleder,


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Esq.) and Womble Carlyle Sandridge & Rice, LLP, 222 Delaware Avenue, Suite 1501,
Wilmington, Delaware 19801 (Attn: Matthew P. Ward, Esq. and Ericka F. Johnson, Esq.);
(iii) the Office of the United States Trustee, 844 King Street, Suite 2207, Lockbox #35,
Wilmington, Delaware, 19899 (Attn: Timothy J. Fox, Jr., Esq.); (iv) counsel to PGV, Greenberg
Traurig, LLP, 77 West Wacker Drive, Suite 3100, Chicago, Illinois 60601 (Attn: Nancy A.
Peterman, Esq.) and Greenberg Traurig LLP, The Nemours Building, 1007 North Orange Street,
Suite 1200, Wilmington, Delaware 19801 (Attn: Dennis A. Meloro, Esq.); and (v) such other
parties as the Bankruptcy Court may order.

              Bankruptcy Rule 9014 governs objections to confirmation of this Combined Plan
and Disclosure Statement. UNLESS AN OBJECTION TO CONFIRMATION OF THIS
COMBINED PLAN AND DISCLOSURE STATEMENT IS TIMELY SERVED UPON
THE PARTIES LISTED ABOVE AND FILED WITH THE BANKRUPTCY COURT, IT
MAY NOT BE CONSIDERED BY THE BANKRUPTCY COURT IN DETERMINING
WHETHER TO CONFIRM THIS COMBINED PLAN AND DISCLOSURE
STATEMENT.

        2.         Requirements for Confirmation

                The Bankruptcy Court will confirm this Plan only if it meets all the applicable
requirements of section 1129 of the Bankruptcy Code. Among the requirements for confirmation
in these Chapter 11 Cases is that this Plan be (i) accepted by all impaired Classes of Claims and
Interests or, if rejected by an impaired Class, that this Plan “does not discriminate unfairly”
against and is “fair and equitable” with respect to such Class; and (ii) feasible. The Bankruptcy
Court must also find, among other things, that:

                   a.     this Plan has classified Claims and Interests in a permissible manner;

                   b.     this Plan complies with the technical requirements of chapter 11 of the
                          Bankruptcy Code; and

                   c.     this Plan has been proposed in good faith.

        3.         Best Interests of Creditors Test

                 The Bankruptcy Code requires that, with respect to an impaired class of claims or
interests, each holder of an impaired claim or interest in such class either (i) accept the plan or
(ii) receive or retain under the plan property of a value, as of the effective date of the plan, that is
not less than the amount (value) such holder would receive or retain if the debtor was liquidated
under chapter 7 of the Bankruptcy Code on the effective date.

               The costs of a chapter 7 liquidation would necessarily include fees payable to a
trustee in bankruptcy, as well as fees likely to be payable to attorneys, advisors, and other
professionals that such a chapter 7 trustee may engage to carry out its duties under the
Bankruptcy Code. Other costs of liquidating the Debtors’ Estates would include the expenses
incurred during the bankruptcy cases and allowed by the Bankruptcy Court in the chapter 7
cases. The foregoing types of claims, costs, expenses, and fees that may arise in a chapter 7
liquidation case would be paid in full before payments would be made towards chapter 11

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administrative, priority, and unsecured claims. In addition, in a chapter 7 liquidation, Holders of
Allowed General Unsecured Claims may no longer receive the benefit of the terms of the Global
Settlement reached between the Debtors, the Creditors’ Committee, and PGV that are
incorporated into this Combined Plan and Disclosure Statement, including, most notably, with
respect to the treatment of the Postpetition Lender Deficiency Claim. Without the benefit of
these settlements and resolutions, any recoveries for Holders of Allowed General Unsecured
Claims in a chapter 7 liquidation would be significantly diluted.

               Accordingly, the Debtors believe that in a chapter 7 liquidation, Holders of
Claims and Interests would receive less than such Holders would receive under this Combined
Plan and Disclosure Statement. There can be no assurance, however, as to values that would
actually be realized in a chapter 7 liquidation, nor can there be any assurance that a Bankruptcy
Court would accept the Debtors’ conclusions or concur with such assumptions in making its
determinations under section 1129(a)(7) of the Bankruptcy Code.

        4.         Feasibility

                Pursuant to section 1129(a)(11) of the Bankruptcy Code, a debtor must
demonstrate that a bankruptcy court’s confirmation of a plan is not likely to be followed by the
liquidation or need for further financial reorganization of the debtor under the plan, unless such
liquidation or reorganization is proposed under the plan. Pursuant to this Combined Plan and
Disclosure Statement, the Debtors’ remaining Assets (after the transfer of the Acquired Assets in
connection with the 363 Sale) are being transferred to the Liquidation Trust to be liquidated and
distributed to the Liquidation Trust’s Beneficiaries. Therefore, as this is a liquidating Plan, the
Bankruptcy Court’s confirmation of this Combined Plan and Disclosure Statement will not be
followed by liquidation or the need for any further reorganization.

        5.         Classification of Claims and Interests

                Section 1122 of the Bankruptcy Code requires this Combined Plan and Disclosure
Statement to place a Claim or Interest in a particular Class only if such Claim or Interest is
substantially similar to the other Claims or Interests in such Class. This Combined Plan and
Disclosure Statement creates separate Classes to treat the Postpetition Lender Secured Claims,
Other Secured Claims, Other Priority Claims, SDI Solutions General Unsecured Claims, SDI
Opco General Unsecured Claims, Postpetition Lender Deficiency Claims, Subordinated Other
Claims, SDI Solutions Interests, and SDI Opco Interests. The Debtors believe that this Combined
Plan and Disclosure Statement’s classification scheme places substantially similar Claims or
Interests in the same Class and thus meets the requirements of section 1122 of the Bankruptcy
Code.

        6.         Impaired Claims or Interests

               Pursuant to section 1126 of the Bankruptcy Code, only the Holders of Claims in
Classes “Impaired” by this Combined Plan and Disclosure Statement and receiving a
Distribution under this Combined Plan and Disclosure Statement may vote on this Combined
Plan and Disclosure Statement. Pursuant to section 1124 of the Bankruptcy Code, a Class of
Claims may be “Impaired” if this Combined Plan and Disclosure Statement alters the legal,


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equitable, or contractual rights of the Holders of such Claims or Interests treated in such Class.
The Holders of Claims not Impaired by this Combined Plan and Disclosure Statement are
deemed to accept this Combined Plan and Disclosure Statement and do not have the right to vote
on this Combined Plan and Disclosure Statement. The Holders of Claims or Interests in any
Class that will not receive any Distribution or retain any property pursuant to this Combined Plan
and Disclosure Statement are deemed to reject this Combined Plan and Disclosure Statement and
do not have the right to vote.

        7.         Eligibility to Vote on this Combined Plan and Disclosure Statement

               Unless otherwise ordered by the Bankruptcy Court, only Holders of Allowed
Claims in Classes 1, 4A, 4B, 5, and 6 may vote on this Combined Plan and Disclosure Statement.
In order to vote on this Combined Plan and Disclosure Statement, you must hold an Allowed
Claim in Class 1, 4A, 4B, 5, or 6, or be the Holder of a Claim that has been temporarily Allowed
for voting purposes only under Bankruptcy Rule 3018(a).

        8.         Procedure/Voting Deadlines

               In order for your Ballot to count, you must (1) properly complete, date, and
execute the Ballot and (2) deliver the Ballot to the Balloting Agent by either (a) regular mail to
the Balloting Agent at the following address: Donlin, Recano & Company, Inc., re: SDI
Solutions LLC, et al., P.O. Box 192016, Blythebourne Station, Brooklyn, NY 11219;
(b) overnight courier or hand delivery to the Balloting Agent at the following address: Donlin,
Recano & Company, Inc., re: SDI Solutions LLC, et al., 6201 15th Avenue, Brooklyn, NY
11219.

               The Balloting Agent must RECEIVE original ballots on or before ___________,
2016, at 5:00 p.m. (prevailing Eastern Time) (the “Voting Deadline”). Except as otherwise
ordered by the Bankruptcy Court, you may not change your vote once a Ballot is submitted to the
Balloting Agent.

                Any Ballot that is timely received, that contains sufficient information to permit
the identification of the claimant and that is cast as an acceptance or rejection of this Combined
Plan and Disclosure Statement will be counted and cast as an acceptance or rejection, as the case
may be, of this Combined Plan and Disclosure Statement.

                Holders of Claims who do not want to provide the releases to the Released Parties
set forth in Section XII.E.2. herein must affirmatively indicate so by checking the “opt out” box
on the Ballot.

                The following Ballots will not be counted or considered for any purpose in
determining whether this Combined Plan and Disclosure Statement has been accepted or rejected
by the class in which such Holder holds a Claim or Interest:

                      a. any Ballot submitted that is received after the Voting Deadline, unless the
                         Debtors or the Court grant an extension of the Voting Deadline with
                         respect to such Ballot;


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                      b. any Ballot that is illegible or contains insufficient information to permit
                         the identification of the claimant;

                      c. any Ballot cast by a Person or Entity that does not hold a Claim in a Class
                         that is entitled to vote to accept or reject this Combined Plan and
                         Disclosure Statement;

                      d. any Ballot cast for a Claim designated or determined as unliquidated,
                         contingent, or disputed or as zero or unknown in amount and for which no
                         Bankruptcy Rule 3018(a) motion has been Filed by the Bankruptcy Rule
                         3018(a) motion deadline;

                      e. any Ballot timely received that is cast in a manner that indicates neither
                         acceptance nor rejection of this Combined Plan and Disclosure Statement
                         or that indicates both acceptance and rejection of this Combined Plan and
                         Disclosure Statement;

                      f. any Ballot not bearing an original signature; or

                      g. any Ballot that is submitted by facsimile or other electronic
                         communication.

        9.         Acceptance of this Combined Plan and Disclosure Statement

                As a Creditor, your acceptance of this Combined Plan and Disclosure Statement is
important. In order for this Combined Plan and Disclosure Statement to be accepted by an
impaired Class of Claims, a majority in number (i.e., more than half) and two-thirds in dollar
amount of the Claims voting (of each Impaired Class of Claims) must vote to accept this
Combined Plan and Disclosure Statement. At least one impaired Class of Creditors, excluding
the votes of insiders, must actually vote to accept this Combined Plan and Disclosure Statement.
The Debtors and the Creditors’ Committee urge that you vote to accept this Combined Plan and
Disclosure Statement. YOU ARE URGED TO COMPLETE, DATE, SIGN AND
PROMPTLY RETURN THE BALLOT. PLEASE BE SURE TO COMPLETE THE
BALLOT PROPERLY AND LEGIBLY IDENTIFY THE EXACT AMOUNT OF YOUR
CLAIM AND THE NAME OF THE CREDITOR.

        10.        Elimination of Vacant Classes

              Any Class of Claims or Interests that does not contain, as of the date of
commencement of the Plan Confirmation Hearing, a Holder of an Allowed Claim or Interest, or
a Holder of a Claim temporarily allowed under Bankruptcy Rule 3018, shall be deemed deleted
from this Combined Plan and Disclosure Statement for all purposes, including for purposes of
determining acceptance of this Combined Plan and Disclosure Statement by such Class under
section 1129(a)(8) of the Bankruptcy Code.




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                      V. TREATMENT OF UNCLASSIFIED CLAIMS

A.      Administrative Expense Claims

                Except to the extent that a Holder of an Allowed Administrative Expense Claim
agrees to less favorable treatment with the Debtors or Liquidation Trustee, each Holder, if any,
of an Allowed Administrative Expense Claim (other than Compensation and Reimbursement
Claims and Statutory Fees) whose Claim has not been assumed or paid by the Purchaser in
connection with the 363 Sale or otherwise satisfied prior to the Effective Date shall receive Cash
in an amount equal to the unpaid amount of such Allowed Administrative Expense Claim on the
later of the Effective Date and the date on which such Administrative Expense Claim becomes
an Allowed Administrative Expense Claim, or as soon thereafter as is reasonably practicable
from Cash on hand of the Debtors as of the Effective Date or otherwise from the Plan Funding
Amount. To be eligible to receive Distributions under this Combined Plan and Disclosure
Statement on account of an Administrative Expense Claim that is not otherwise expressly
Allowed by this Combined Plan and Disclosure Statement, (i) a request for payment of an
Administrative Expense Claim incurred during the Initial Administrative Expense Claim Period
must have been or be Filed on or before the Initial Administrative Expense Claim Bar Date, and
(ii) a request for payment of an Administrative Expense Claim incurred during the Second
Administrative Expense Claim Period must have been or be Filed on or before the Second
Administrative Expense Claim Bar Date. Any Administrative Expense Claim that is not timely
asserted by the applicable Administrative Expense Claim Bar Date in accordance herewith shall
be deemed disallowed under this Combined Plan and Disclosure Statement and shall be forever
barred against the Debtors, the Estates, the Liquidation Trust, or any of their Assets or property,
and the Holder thereof shall be enjoined from commencing or continuing any action,
employment of process, or act to collect, offset, recoup, or recover such Claim.

B.      Priority Tax Claims

                Each Holder of an Allowed Priority Tax Claim, if any, shall receive in full
satisfaction of such Allowed Priority Tax Claim, in accordance with section 1129(a)(9)(C) of the
Bankruptcy Code, regular installment payments in Cash over a period ending not later than five
(5) years after the Petition Date of a total value, as of the Effective Date, equal to the Allowed
amount of such Priority Tax Claim, payable from Cash on hand of the Debtors as of the Effective
Date or otherwise from the Plan Funding Amount. The Liquidation Trustee reserves the right to
prepay such Allowed Claim at any time under this option. On the Effective Date, any Liens
securing any Allowed Priority Tax Claim shall be deemed released, terminated, and
extinguished, in each case without further notice to or order of the Bankruptcy Court, act or
action under applicable law, regulation, order, or rule or the vote, consent, authorization, or
approval of any Person.

C.      Compensation and Reimbursement Claims

              All Professionals seeking allowance and payment of Compensation and
Reimbursement Claims shall (i) File their respective final applications for allowance of
compensation for services rendered and reimbursement of expenses incurred in the Chapter 11
Cases by the date that is forty-five (45) days after the Effective Date and (ii) be paid, from the


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Professional Fee Carveout Reserve, (a) the unpaid amounts as is Allowed by the Bankruptcy
Court within five (5) Business Days after the date that such Claim is Allowed by Order of the
Bankruptcy Court, or (b) upon such other terms as may be mutually agreed upon between the
Holder of such an Allowed Compensation and Reimbursement Claim and the Liquidation
Trustee, in each case subject to the Final DIP Order and Global Settlement Order. Any
Compensation and Reimbursement Claim that is not timely asserted in accordance herewith shall
be deemed disallowed under this Combined Plan and Disclosure Statement and shall be forever
barred against the Debtors, the Estates, the Liquidation Trust, or any of their Assets or property,
and the Holder thereof shall be enjoined from commencing or continuing any action,
employment of process or act to collect, offset, recoup or recover such Claim.

D.        Statutory Fees

               Statutory Fees shall be paid on the Effective Date and thereafter, as such fees may
thereafter accrue and be due and payable in accordance with the applicable schedule for payment
of such fees. Any Statutory Fees relating to any period of time prior to the date of closing of the
363 Sale shall be paid by PGV. Any Statutory Fees relating to the period of time from the date
of closing of the 363 Sale to the Effective Date shall be paid by the Debtors or Liquidation
Trustee, as applicable, from the Professional Fee Carveout Reserve solely to the extent there are
any remaining funds in such reserve after payment of all Allowed Compensation and
Reimbursement Claims, and in the event there are insufficient funds in such reserve, such
Statutory Fees shall be paid from funds in the Liquidation Trust Operating Reserve. Statutory
Fees relating to any period of time after the Effective Date shall be paid by the Liquidation
Trustee from funds in the Liquidation Trust Operating Reserve.

                            VI. CLASSIFICATION OF CLAIMS AND
                           INTERESTS; ESTIMATED RECOVERIES

               Claims—other than Administrative Expense Claims, Compensation and
Reimbursement Claims, Priority Tax Claims, and Statutory Fees—are classified for all purposes,
including voting, confirmation, and Distribution pursuant to this Combined Plan and Disclosure
Statement, as follows:

 Class                       Type                    Status Under Plan          Voting Status
     1       Postpetition Lender Secured Claim            Impaired             Entitled to Vote
     2               Other Secured Claims                Unimpaired           Deemed to Accept
     3               Other Priority Claims               Unimpaired           Deemed to Accept
              SDI Solutions General Unsecured
     4A                                                   Impaired             Entitled to Vote
                           Claims
               SDI Opco General Unsecured
     4B                                                   Impaired             Entitled to Vote
                           Claims
               Postpetition Lender Deficiency
     5                                                    Impaired             Entitled to Vote
                            Claim
     6             Subordinated Other Claims              Impaired             Entitled to Vote

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     7A                 SDI Solutions Interests                Impaired          Deemed to Reject
     7B                   SDI Opco Interests                   Impaired          Deemed to Reject

                         VII.    TREATMENT OF CLAIMS AND INTERESTS

A.        Treatment of Claims

          1.       Class 1 – Postpetition Lender Secured Claim

                   a.        Classification

                   Class 1 consists of the Postpetition Lender Secured Claim.

                   b.        Impairment and Voting

                Class 1 is Impaired by this Combined Plan and Disclosure Statement and is
entitled to vote to accept or reject this Combined Plan and Disclosure Statement.

                   c.        Treatment

                In full and final satisfaction, settlement, release, and discharge of the Postpetition
Lender Secured Claim, PGV, as Holder of the Postpetition Lender Secured Claim, (a) in
accordance with the 363 Sale Documents, has received (or will receive) a transfer and
assignment of all Acquired Assets in exchange for, among other things, a Credit Bid of a portion
of the Postpetition Lender Secured Claim, and (b) with respect to any remaining portion of the
Postpetition Lender Secured Claim and Assets other than Acquired Assets, PGV, as Holder of
the Postpetition Lender Secured Claim, has agreed to release all Liens it may have on all
Liquidation Trust Assets and any other Assets of the Debtors as of the Effective Date, without
prejudice to the Postpetition Lender Deficiency Claim. Upon occurrence of the Effective Date,
all Liens in favor of PGV, as Holder of the Postpetition Lender Secured Claim, shall be deemed
released, terminated, and extinguished, in each case without further notice to or order of the
Bankruptcy Court, act or action under applicable law, regulation, order, or rule, or the vote,
consent, authorization, or approval of any Person.

                The Postpetition Lender Secured Claim shall be deemed an Allowed Claim under
this Combined Plan and Disclosure Statement. Any Postpetition Lender Deficiency Claim shall
be classified in Class 5 (and shall be deemed an Allowed Claim under this Combined Plan and
Disclosure Statement) and will receive the treatment described in Section VII.A.6.c. below.

          2.       Class 2 – Other Secured Claims

                   a.        Classification

                   Class 2 consists of all Other Secured Claims, if any.




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                   b.     Impairment and Voting

               Class 2 is Unimpaired. Holders of Allowed Class 2 Other Secured Claims are
deemed to have accepted this Combined Plan and Disclosure Statement and, thus, are not entitled
to vote to accept or reject this Combined Plan and Disclosure Statement.

                   c.     Treatment

               Except to the extent that a Holder of an Allowed Other Secured Claim agrees to a
less favorable or different treatment, on, or as soon as reasonably practical after, the Effective
Date or the date such Claim becomes an Allowed Other Secured Claim, each Holder of such
Allowed Other Secured Claim shall receive, as the Debtors or the Liquidation Trustee, as
applicable, determines, (i) the Collateral securing such Allowed Other Secured Claim (to the
extent such Collateral is not subject to Liens securing the Postpetition Lender Secured Claims
under the Final DIP Order, or, if such Collateral is subject to such Liens, to the extent that the
Lien securing such Allowed Other Secured Claim is senior to such Liens), or (ii) such other
treatment as renders such Holder’s Allowed Other Secured Claim Unimpaired in accordance
with section 1124(1) or (2) of the Bankruptcy Code; provided, however, that any deficiency
Claims of Holders of Class 2 Other Secured Claims shall not constitute Class 2 Other Secured
Claims and shall be treated as Class 4A SDI Solutions General Unsecured Claims or Class 4B
SDI Opco General Unsecured Claims hereunder, as applicable.

        3.         Class 3 – Other Priority Claims

                   a.     Classification

                   Class 3 consists of all Other Priority Claims.

                   b.     Impairment and Voting

                Class 3 is Unimpaired. Holders of Allowed Other Priority Claims in Class 3 shall
be deemed to have accepted this Combined Plan and Disclosure Statement and, thus, are not
entitled to vote to accept or to reject this Combined Plan and Disclosure Statement.

                   c.     Treatment

                Except to the extent that a Holder of an Allowed Other Priority Claim agrees to a
less favorable or different treatment, on, or as soon as reasonably practicable after, the later of
the Effective Date or the date such Other Priority Claim becomes an Allowed Other Priority
Claim, each Holder of an Allowed Other Priority Claim shall receive payment in full, from Cash
on hand of the Debtors as of the Effective Date or otherwise from the Plan Funding Amount, in
full satisfaction, settlement, and release of, and in exchange for, such Allowed Other Priority
Claim.




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        4.         Class 4A – SDI Solutions General Unsecured Creditors

                   a.     Classification

                   Class 4A consists of all SDI Solutions General Unsecured Claims.

                   b.     Impairment and Voting

              Class 4A is Impaired, and Holders of Allowed SDI Solutions General Unsecured
Claims in Class 4A are entitled to vote to accept or to reject this Combined Plan and Disclosure
Statement.

                   c.     Treatment

                Except to the extent that a Holder of an Allowed SDI Solutions General
Unsecured Claim has agreed to a different treatment of such Claim, in full and final satisfaction,
settlement, release, and discharge of each Allowed SDI Solutions General Unsecured Claim,
each Holder of an Allowed SDI Solutions General Unsecured Claim will receive on account of
such Allowed SDI Solutions General Unsecured Claim such Holder’s Pro Rata Share of the
beneficial interest in the Liquidation Trust and, as a Beneficiary of the Liquidation Trust, shall
receive, on a distribution date, its Pro Rata Share of net Cash derived from the Liquidation Trust
Assets available for Distribution as provided under this Combined Plan and Disclosure Statement
and Liquidation Trust Agreement, until all Allowed General Unsecured Claims in Classes 4A
and 4B are paid in full or the Liquidation Trust Assets are exhausted; provided, however, that all
Distributions to Holders of Allowed SDI Solutions General Unsecured Claims shall be subject to
the Liquidation Trustee first paying in full all Liquidation Trust Operating Expenses and/or
reserving in the Liquidation Trust Operating Reserve for such Liquidation Trust Operating
Expenses as reasonable and appropriate.

              Because of the consolidation under Local Rule 1017-3 as set forth in Section
XV.O. hereof, all Intercompany Claims shall be cancelled as of the Effective Date and neither
Debtor will receive any recovery on account of any such Intercompany Claim. Accordingly,
Intercompany Claims are not separately classified hereunder.

        5.         Class 4B – SDI Opco General Unsecured Creditors

                   a.     Classification

                   Class 4B consists of all SDI Opco General Unsecured Claims.

                   b.     Impairment and Voting

              Class 4B is Impaired, and Holders of Allowed SDI Opco General Unsecured
Claims in Class 4B are entitled to vote to accept or to reject this Combined Plan and Disclosure
Statement.




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                   c.     Treatment

               Except to the extent that a Holder of an Allowed SDI Opco General Unsecured
Claim has agreed to a different treatment of such Claim, in full and final satisfaction, settlement,
release, and discharge of each Allowed SDI Opco General Unsecured Claim, each Holder of an
Allowed SDI Opco General Unsecured Claim will receive on account of such Allowed SDI
Opco General Unsecured Claim such Holder’s Pro Rata Share of the beneficial interest in the
Liquidation Trust and, as a Beneficiary of the Liquidation Trust, shall receive, on a distribution
date, its Pro Rata Share of net Cash derived from the Liquidation Trust Assets available for
Distribution as provided under this Combined Plan and Disclosure Statement and Liquidation
Trust Agreement, until all Allowed General Unsecured Claims in Classes 4A and 4B are paid in
full or the Liquidation Trust Assets are exhausted; provided, however, that all Distributions to
Holders of Allowed SDI Opco General Unsecured Claims shall be subject to the Liquidation
Trustee first paying in full all Liquidation Trust Operating Expenses and/or reserving in the
Liquidation Trust Operating Reserve for such Liquidation Trust Operating Expenses as
reasonable and appropriate.

              Because of the consolidation under Local Rule 1017-3 as set forth in Section
XV.O. hereof, all Intercompany Claims shall be cancelled as of the Effective Date and neither
Debtor will receive any recovery on account of any such Intercompany Claim. Accordingly,
Intercompany Claims are not separately classified hereunder.

        6.         Class 5 – Postpetition Lender Deficiency Claim

                   a.     Classification

                   Class 5 consists of the Postpetition Lender Deficiency Claim.

                   b.     Impairment and Voting

               Class 5 is Impaired, and the Holder of the Allowed Postpetition Lender
Deficiency Claim in Class 5 is entitled to vote to accept or to reject this Combined Plan and
Disclosure Statement.

                   c.     Treatment

               The Postpetition Lender Deficiency Claim shall be deemed an Allowed Claim
under this Combined Plan and Disclosure Statement; however, PGV, as Holder of the
Postpetition Lender Deficiency Claim, will not share in any Distribution from the Liquidation
Trust on account of such Postpetition Lender Deficiency Claim and, under this Combined Plan
and Disclosure Statement, PGV expressly waives its right to Distributions on account of such
Claim.




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        7.         Class 6 – Subordinated Other Claims

                   a.     Classification

                Class 6 consists of all Subordinated Other Claims, if any. The Debtors do not
believe that there are any Subordinated Other Claims.

                   b.     Impairment and Voting

                 Class 6 is Impaired, and Holders of Allowed Subordinated Other Claims in Class
6, if any, are entitled to vote to accept or to reject this Combined Plan and Disclosure Statement.

                   c.     Treatment

                In full and final satisfaction, settlement, release, and discharge of each Allowed
Subordinated Other Claim, each Holder of an Allowed Subordinated Other Claim will receive on
account of such Allowed Subordinated Other Claim such Holder’s Pro Rata Share of the
beneficial interest in the Liquidation Trust and, as a Beneficiary of the Liquidation Trust, shall
receive, on a distribution date—if and solely to the extent all Allowed General Unsecured Claims
in Classes 4A and 4B are first paid in full and, after such payment in full, Liquidation Trust
Assets remain in the Liquidation Trust—its Pro Rata Share of net Cash derived from such
remaining Liquidation Trust Assets available for Distribution as provided under this Combined
Plan and Disclosure Statement and Liquidation Trust Agreement, until all Allowed Subordinated
Other Claims are paid in full or the Liquidation Trust Assets are exhausted; provided, however,
that all Distributions to Holders of Allowed Subordinated Other Claims shall be subject to the
Liquidation Trustee first paying in full all Liquidation Trust Operating Expenses and/or reserving
in the Liquidation Trust Operating Reserve for such Liquidation Trust Operating Expenses as
reasonable and appropriate.

        8.         Class 7A – SDI Solutions Interests

                   a.     Classification

                   Class 7A consists of all SDI Solutions Interests.

                   b.     Impairment and Voting

               Class 7A is Impaired. Because Holders of SDI Solutions Interests will receive no
Distribution under this Combined Plan and Disclosure Statement, Class 7A shall be deemed to
have voted to reject this Combined Plan and Disclosure Statement.

                   c.     Treatment

               On the Effective Date, all SDI Solutions Interests (including any and all options
or rights to exercise warrants or options or to otherwise acquire any SDI Solutions Interests)
shall be cancelled, deemed terminated, and of no further force and effect, and the Holders of SDI
Solutions Interests shall not receive or retain any Distribution or property on account of such SDI
Solutions Interests.

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        9.         Class 7B – SDI Opco Interests

                   a.     Classification

                   Class 7B consists of all SDI Opco Interests.

                   b.     Impairment and Voting

               Class 7B is Impaired. Because Holders of SDI Opco Interests will receive no
Distribution under this Combined Plan and Disclosure Statement, Class 7B shall be deemed to
have voted to reject this Combined Plan and Disclosure Statement.

                   c.     Treatment

                On the Effective Date, all SDI Opco Interests (including any and all options or
rights to exercise warrants or options or to otherwise acquire any SDI Opco Interests) shall be
cancelled, deemed terminated, and of no further force and effect, and the Holders of SDI Opco
Interests shall not receive or retain any Distribution or property on account of such SDI Opco
Interests.

B.      Modification of Treatment of Claims and Interests

               The Debtors, in consultation with the Creditors’ Committee, reserve the right to
modify the treatment of any Allowed Claim or Interest in any manner adverse only to the Holder
of such Claim or Interest at any time after the Effective Date upon the consent of the Holder of
the Claim or Interest whose Allowed Claim or Interest, as the case be, is being adversely
affected.

C.      Cramdown and No Unfair Discrimination

               In the event that any impaired Class of Claims or Interests rejects this Plan or is
deemed to have rejected this Plan, the Debtors hereby request, without any delay in the
occurrence of the Plan Confirmation Hearing or Effective Date, that the Bankruptcy Court
confirm this Plan in accordance with section 1129(b) of the Bankruptcy Code with respect to
such non-accepting Class, in which case this Combined Plan and Disclosure Statement shall
constitute a motion for such relief.

               VIII. PROVISIONS REGARDING THE LIQUIDATION TRUST

A.      Appointment of the Liquidation Trustee

               The Liquidation Trustee shall be selected by the Creditors’ Committee and shall
be identified by the Debtors in the Plan Supplement. At the Plan Confirmation Hearing, the
Bankruptcy Court shall consider and, if appropriate, ratify the selection of the Liquidation
Trustee. All compensation for the Liquidation Trustee shall be paid from the Liquidation Trust
Assets, as may be reserved by the Liquidation Trustee in the Liquidation Trust Operating
Reserve, in accordance with the Liquidation Trust Agreement. The approved Person shall serve
as the Liquidation Trustee upon execution of the Liquidation Trust Agreement on the Effective

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Date. The Liquidation Trustee shall not be required to give any bond or surety or other security
for the performance of its duties unless otherwise ordered by the Bankruptcy Court. The
Liquidation Trust Agreement shall be provided in the Plan Supplement. On the Effective Date,
all Beneficiaries of the Liquidation Trust shall be deemed to have ratified and become bound by
the terms and conditions of the Liquidation Trust Agreement. In the event that the Liquidation
Trustee resigns or is removed, terminated, or otherwise unable to serve as the Liquidation
Trustee, then a successor shall be appointed as set forth in the Liquidation Trust Agreement.
Any successor Liquidation Trustee appointed shall be bound by and comply with the terms of
this Combined Plan and Disclosure Statement, the Plan Confirmation Order, and the Liquidation
Trust Agreement.

B.      Creation of Liquidation Trust

                 On the Effective Date, the Liquidation Trustee shall sign the Liquidation Trust
Agreement and, in its capacity as Liquidation Trustee, accept all Liquidation Trust Assets on
behalf of the Beneficiaries thereof, and be authorized to obtain, seek the turnover, liquidate, and
collect all of the Liquidation Trust Assets not in its possession or control. The Liquidation Trust
will then be deemed created and effective without any further action by the Bankruptcy Court or
any Person as of the Effective Date. The Liquidation Trust shall be established for the primary
purpose of liquidating the Liquidation Trust Assets and for making Distributions in accordance
with this Combined Plan and Disclosure Statement and the Liquidation Trust Agreement, with
no objective to continue or engage in the conduct of a trade or business, except only in the event
and to the extent necessary to, and consistent with, the liquidating purpose of the Liquidation
Trust.

C.      Beneficiaries of Liquidation Trust

               The Holders of Allowed Claims entitled to Distributions hereunder shall be the
Beneficiaries of the Liquidation Trust. Such Beneficiaries shall be bound by the Liquidation
Trust Agreement. The interests of the Beneficiaries in the Liquidation Trust shall be
uncertificated and shall be nontransferable except upon death of the interest holder or by
operation of law.

D.      Vesting and Transfer of Assets to the Liquidation Trust

                Pursuant to section 1141(b) of the Bankruptcy Code, the Liquidation Trust Assets
shall vest in the Liquidation Trust free and clear of all Claims and Liens; provided, however, that
the Liquidation Trustee may abandon or otherwise not accept any Liquidation Trust Assets that
the Liquidation Trustee believes, in good faith, to have no value to, or will be unduly
burdensome to, the Liquidation Trust. Any Liquidation Trust Assets that the Liquidation Trustee
so abandons or otherwise does not accept shall not be property of the Liquidation Trust. As of
the Effective Date, all Liquidation Trust Assets vest in the Liquidation Trust and all Assets dealt
with in this Combined Plan and Disclosure Statement shall be free and clear of all Liens, Claims,
and Interests except as otherwise specifically provided in this Combined Plan and Disclosure
Statement or in the Plan Confirmation Order.




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E.      Certain Powers and Duties of the Liquidation Trust and Liquidation Trustee

        1.         General Powers of the Liquidation Trustee

                The Liquidation Trustee shall have the power and authority to perform the acts
described in the Liquidation Trust Agreement (subject to approval by the Bankruptcy Court
where applicable), in addition to any powers granted by law or conferred to it by any other
provision of this Combined Plan and Disclosure Statement, including without limitation any set
forth herein, provided however, that enumeration of the following powers shall not be considered
in any way to limit or control the power and authority of the Liquidation Trustee to act as
specifically authorized by any other provision of this Combined Plan and Disclosure Statement,
the Liquidation Trust Agreement, and/or any applicable law, and to act in such manner as the
Liquidation Trustee may deem necessary or appropriate, including, without limitation, to
discharge all obligations assumed by the Liquidation Trustee or provided herein and to conserve
and protect the Liquidation Trust or to confer on the Beneficiaries the benefits intended to be
conferred upon them by this Combined Plan and Disclosure Statement. The powers, rights, and
responsibilities of the Liquidation Trustee shall be specified in the Liquidation Trust Agreement
and shall include the authority, power, and responsibility to: (a) receive, manage, invest,
supervise, and protect Liquidation Trust Assets; (b) pay taxes or other obligations incurred by the
Liquidation Trust and issue to employees or other Persons, and/or file with the appropriate
Governmental Units, applicable tax and wage returns and forms; (c) retain and compensate,
without further order of the Bankruptcy Court, the services of employees, professionals, and
consultants to advise and assist in the administration, prosecution and distribution of Liquidation
Trust Assets; (d) calculate and implement Distributions of Liquidation Trust Assets;
(e) investigate, prosecute, compromise, and settle, in accordance with the specific terms of the
Liquidation Trust Agreement and without further order of the Court, Retained Causes of Action
vested in the Liquidation Trust; (f) resolve issues involving Claims and Interests in accordance
with this Combined Plan and Disclosure Statement, including the power to object to Claims, and
to subordinate and recharacterize Claims by objection, motion, or adversary proceeding; (g)
undertake all administrative functions of the Chapter 11 Cases, including the payment of
Statutory Fees and the ultimate closing of the Chapter 11 Cases and (h) take action pursuant to
such other powers as may be vested in or assumed by the Liquidation Trustee pursuant to this
Combined Plan and Disclosure Statement, the Liquidation Trust Agreement, Bankruptcy Court
order, or as may be necessary and proper to carry out the provisions of this Combined Plan and
Disclosure Statement.

               Except as expressly set forth in this Combined Plan and Disclosure Statement and
in the Liquidation Trust Agreement, the Liquidation Trustee, on behalf of the Liquidation Trust,
shall have absolute discretion to pursue or not to pursue any Retained Causes of Action as it
determines is in the best interests of the Liquidation Trust’s Beneficiaries and consistent with the
purposes of the Liquidation Trust, and shall have no liability for the outcome of his or her
decision, other than those decisions constituting gross negligence or willful misconduct. The
Liquidation Trustee may incur any reasonable and necessary expenses in liquidating and
converting the Liquidation Trust Assets to Cash. The Liquidation Trust is the successor to the
Debtors, the Estates, and the Debtors’ right to books and records. The Liquidation Trustee shall
be granted standing, authority, power, and right to assert, prosecute, and/or settle the Retained
Causes of Action, including making a claim under the D&O Policies, employment practices

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liability, or fiduciary liability insurance policies based upon its powers as a bankruptcy-
appointed representative of the Debtors’ Estates with the same or similar abilities possessed by
insolvency trustees, receivers, examiners, conservators, liquidators, rehabilitators, or similar
officials; provided, however, that any recovery from Claims and Causes of Action covered under
the D&O Policies shall be limited to the amount of coverage available under the D&O Policies
and from the insurance carriers under applicable law, and amounts in excess of the then
remaining coverage shall not, for the avoidance doubt, be asserted against or collected from any
current or former director or officer of the Debtors personally or from such individual’s personal
assets; provided, further, that the Liquidation Trust may pursue on D&O Claims in excess of the
amount of coverage. Retained Causes of Action will vest in the Liquidation Trust; however,
there can be no assurance as to the outcome of such Retained Causes of Action or the dollar
amount of any recovery that will be obtained by the Liquidation Trust.

        2.         Books and Records

               On the Effective Date, the Liquidation Trust shall: (a) take possession of all
books, records, and files of the Debtors and the Estates that were not sold and transferred in
connection with the 363 Sale; and (b) provide for the retention and storage of such books,
records, and files until such time as the Liquidation Trust determines, in accordance with the
Liquidation Trust Agreement, that retention of same is no longer necessary or beneficial.

        3.         Investments of Cash

               The Liquidation Trust may invest Cash (including any earnings thereon or
proceeds therefrom) as permitted by section 345 of the Bankruptcy Code or in other prudent
investments, provided, however, that such investments are permitted to be made by a liquidating
trust within the meaning of Treasury Regulation section 301.7701-4(d), as reflected therein, or
under applicable IRS guidelines, rulings, or other controlling authorities.

        4.         Costs and Expenses of Administration of the Liquidation Trust

              All Liquidation Trust Operating Expenses shall be the responsibility of and paid
by the Liquidation Trust in accordance with the Liquidation Trust Agreement from the
Liquidation Trust Assets.

        5.         Reporting

               In no event later than thirty (30) Business Days after the end of the first full
month following the Effective Date and on a quarterly basis thereafter until all Cash in the
Liquidation Trust has been released or paid out in accordance with this Combined Plan and
Disclosure Statement, the Liquidation Trustee shall File a report setting forth the amounts,
recipients, and dates of all Distributions made by the Liquidation Trustee under this Combined
Plan and Disclosure Statement through each applicable reporting period.




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F.      Federal Income Tax Treatment of the Liquidation Trust for the Liquidation Trust
        Assets

                For federal income tax purposes, it is intended that the Liquidation Trust be
classified as a liquidating trust under section 301.7701-4 of the Treasury regulations and that
such trust be owned by its Beneficiaries. Accordingly, for federal income tax purposes, it is
intended that the beneficiaries be treated as if they had received a distribution from the Estates of
an undivided interest in each of the Liquidation Trust Assets (to the extent of the value of their
respective share in the applicable assets) and then contributed such interests to the Liquidation
Trust, and the Liquidation Trust’s Beneficiaries will be treated as the grantors and owners
thereof.

                The Liquidation Trust shall be responsible for filing all federal, state, and local
tax returns for the Debtors and the Liquidation Trust. The Liquidation Trust shall comply with
all withholding and reporting requirements imposed by any federal, state, or local taxing
authority, and all distributions made by the Liquidation Trust shall be subject to any such
withholding and reporting requirements. The Liquidation Trustee shall be authorized to take any
and all actions that may be necessary or appropriate to comply with such withholding and
reporting requirements including, without limitation, requiring that, as a condition to the receipt
of a Distribution, the Holder of an Allowed Claim complete the appropriate IRS Form W-8 or
IRS Form W-9, as applicable to each Holder. Notwithstanding any other provision of this
Combined Plan and Disclosure Statement, (a) each Holder of an Allowed Claim that is to receive
a Distribution from the Liquidation Trust shall have the sole and exclusive responsibility for the
satisfaction and payment of any tax obligations imposed on such Holder by any Governmental
Unit, including income and other tax obligations, on account of such Distribution, and (b) no
Distribution shall be made to or on behalf of such Holder pursuant to this Combined Plan and
Disclosure Statement unless and until such Holder has made arrangements satisfactory to the
Liquidation Trustee to allow it to comply with its tax withholding and reporting requirements.
Any property to be distributed by the Liquidation Trust shall, pending the implementation of
such arrangements, be treated as an undeliverable Distribution to be held by the Liquidation
Trustee, as the case may be, until such time as the Liquidation Trustee is satisfied with the
Holder’s arrangements for any withholding tax obligations.

G.      Term of Liquidation Trust

               The Liquidation Trustee shall be discharged and the Liquidation Trust shall be
terminated, at such time as (i) all Disputed Claims have been resolved, (ii) all of the Liquidation
Trust Assets have been liquidated, (iii) all duties and obligations of the Liquidation Trustee
under the Liquidation Trust Agreement have been fulfilled, (iv) all Distributions required to be
made by the Liquidation Trust under this Combined Plan and Disclosure Statement and the
Liquidation Trust Agreement have been made, and (v) the Chapter 11 Cases have been closed;
provided, however, that in no event shall the Liquidation Trust be dissolved later than five (5)
years from the Effective Date unless the Bankruptcy Court, upon motion within the six-month
period prior to the fifth anniversary (or the end of any extension period approved by the
Bankruptcy Court), determines that a fixed period extension (not to exceed one (1) year, together
with any prior extensions, without a favorable letter ruling from the Internal Revenue Service
that any further extension would not adversely affect the status of the Liquidation Trust as a

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liquidating trust for federal income tax purposes) is necessary to facilitate or complete the
recovery and liquidation of the Liquidation Trust Assets.

H.      Limitation of Liability of the Liquidation Trustee

               The Liquidation Trust shall indemnify the Liquidation Trustee and his or her
professionals against any losses, liabilities, expenses (including attorneys’ fees and
disbursements), damages, taxes, suits, or claims that the Liquidation Trustee or his or her
professionals may incur or sustain by reason of being or having been a Liquidation Trustee or
professionals of the Liquidation Trustee for performing any functions incidental to such service;
provided, however, the foregoing shall not relieve the Liquidation Trustee or his or her
professionals from liability for bad faith, willful misconduct, reckless disregard of duty, criminal
conduct, gross negligence, fraud, or self-dealing, or, in the case of an attorney professional and,
as required under Rule 1.8(h)(1) of the New York State Rules of Professional Conduct,
malpractice.

                   IX. ADDITIONAL MEANS FOR IMPLEMENTATION

A.      Preservation of Right to Conduct Investigations

                The preservation for the Liquidation Trust of any and all rights to conduct
investigations pursuant to Bankruptcy Rule 2004 is necessary and relevant to the liquidation and
administration of the Liquidation Trust Assets. Accordingly, any and all rights to conduct
investigations pursuant to Bankruptcy Rule 2004 held by the Debtors prior to the Effective Date
shall vest with the Liquidation Trust and shall continue until dissolution of the Liquidation Trust.

B.      Prosecution and Resolution of Retained Causes of Action

                From and after the Effective Date, prosecution and settlement of all Retained
Causes of Action shall be the sole responsibility of the Liquidation Trust pursuant to this
Combined Plan and Disclosure Statement and the Plan Confirmation Order. From and after the
Effective Date, the Liquidation Trust shall have exclusive rights, powers, and interests of the
Estates to pursue, settle, or abandon such Retained Causes of Action as the sole representative of
the Estates pursuant to section 1123(b)(3) of the Bankruptcy Code. All Retained Causes of
Action that are not expressly released or waived under this Combined Plan and Disclosure
Statement are reserved and preserved and vest in the Liquidation Trust in accordance with this
Combined Plan and Disclosure Statement. No Person may rely on the absence of a specific
reference in this Combined Plan and Disclosure Statement or the Plan Supplement to any
Retained Cause of Action against it as any indication that the Debtors or Liquidation Trustee will
not pursue any and all available Retained Causes of Action against such Person. The Liquidation
Trustee expressly reserves all Retained Causes of Action, except for any Retained Causes of
Action against any Person that are expressly released or waived under this Combined Plan and
Disclosure Statement, and, therefore, no preclusion doctrine, including the doctrines of res
judicata, collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable, or
otherwise), or laches, shall apply to such Retained Causes of Action upon, after, or as a
consequence of confirmation or consummation of this Combined Plan and Disclosure Statement.



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C.      Effectuating Documents and Further Transactions

                Upon entry of the Plan Confirmation Order, the Debtors and the Liquidation
Trustee shall be authorized to execute, deliver, file, or record such contracts, instruments,
releases, consents, certificates, resolutions, programs, and other agreements, instruments, and/or
documents, and take such acts and actions as may be reasonably necessary or appropriate to
effectuate, implement, consummate, and/or further evidence the terms and conditions of this
Combined Plan and Disclosure Statement and any transactions described in or contemplated by
this Combined Plan and Disclosure Statement. The Debtors or Liquidation Trustee, as
applicable, may, and all Holders of Allowed Claims or Interests receiving Distributions pursuant
to this Combined Plan and Disclosure Statement, at the request or direction of the Debtors or
Liquidation Trustee, as applicable, shall, from time to time, prepare, execute, and deliver any
agreements or documents, and take any other actions as may be necessary or advisable to
effectuate the provisions and intent of this Combined Plan and Disclosure Statement.

D.      Authority to Act

                Prior to, on, or after the Effective Date (as appropriate), all matters expressly
provided for under this Combined Plan and Disclosure Statement that would otherwise require
approval of the members, managers, or other owners, direct or indirect, of the Debtors shall be
deemed to have occurred and shall be in effect prior to, on, or after the Effective Date (as
applicable) pursuant to applicable law, without any further vote, consent, approval, authorization,
or other action by such members, managers, or other owners of the Debtors or notice to, order of,
or hearing before, the Bankruptcy Court.

E.      Cancellation of Documents

               On the Effective Date, except to the extent otherwise provided in this Combined
Plan and Disclosure Statement, any and all notes, instruments, debentures, certificates and other
documents evidencing Claims against and Interests in the Debtor including, without limitation,
the Postpetition Credit Documents (to the extent not already extinguished, cancelled, and
terminated), shall be deemed automatically extinguished, cancelled, and of no further effect with
the Debtors having no continuing obligations thereunder, and shall be deemed rejected and
terminated.

F.      Funding of Liabilities and Distributions

               On the Effective Date, the Debtors and the Debtors’ Estates shall transfer the
Liquidation Trust Assets to the Liquidation Trust to be utilized, administered, and distributed by
the Liquidation Trustee in accordance with the terms and conditions of this Combined Plan and
Disclosure Statement, the Plan Confirmation Order and the Liquidation Trust Agreement.

G.      Corporate Action; Effectuating Documents; Further Transactions

                On the Effective Date, all matters and actions provided for under this Combined
Plan and Disclosure Statement that would otherwise require approval of the directors, officers,
members, or managers of the Debtors shall be deemed to have been authorized and effective in
all respects as provided herein and shall be taken without any requirement for further action by

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the directors, officers, members, and managers of the Debtors. The Debtors are authorized to
execute, deliver, file, or record such contracts, instruments, releases, and other agreements or
documents and to take such actions as may be necessary or appropriate to effectuate and further
evidence the terms and conditions of this Combined Plan and Disclosure Statement.

H.      Release of Liens

                Except as otherwise provided in this Combined Plan and Disclosure Statement, or
in any contract, instrument, release, or other agreement or document created pursuant to this
Combined Plan and Disclosure Statement, on the Effective Date, all mortgages, deeds of trust,
Liens, pledges, or other security interests against any property of the Estates shall be deemed
fully released and discharged without any further action of any party, including, but not limited
to, further order of the Bankruptcy Court or filing updated schedules or statements typically filed
pursuant to the Uniform Commercial Code or other applicable law.

I.      Exemption from Securities Laws

                Under section 1145 of the Bankruptcy Code, the issuance of beneficial interests in
the Liquidation Trust under this Combined Plan and Disclosure Statement shall be exempt from
registration under the Securities Act of 1933, as amended, and all applicable state and local laws
requiring registration of securities.

J.      Exemption from Certain Taxes and Fees

                Pursuant to section 1146(a) of the Bankruptcy Code, the making or delivery of
any instrument or transfer from a Debtor to the Liquidation Trust, or to any other Person
pursuant to this Combined Plan and Disclosure Statement, shall not be subject to any document
recording tax, stamp tax, conveyance fee, intangibles or similar tax, mortgage tax, stamp tax, real
estate transfer tax, mortgage recording tax or other similar tax or governmental assessment, and
the Plan Confirmation Order shall direct the appropriate state or local governmental officials or
agents to forego the collection of any such tax or governmental assessment and to accept for
filing and recordation any of the forgoing instruments or other documents without the payment
of any such tax or governmental assessment.

K.      Privileges as to Certain Causes of Action

               Effective as of the Effective Date, all Privileges of the Debtors relating to the
Liquidation Trust Assets shall be deemed transferred, assigned, and delivered to the Liquidation
Trust, without waiver or release, and shall vest with the Liquidation Trust. The Liquidation
Trustee shall hold and be the beneficiary of all such Privileges and entitled to assert such
Privileges. No such Privilege shall be waived by disclosures to the Liquidation Trustee of the
Debtors’ documents, information, or communications subject to attorney-client privileges, work
product protections or other immunities (including those related to common interest or joint
defense with third parties), or protections from disclosure held by the Debtors. The Debtors’
Privileges relating to the Liquidation Trust Assets will remain subject to the rights of third
parties under applicable law, including any rights arising from the common interest doctrine, the
joint defense doctrine, joint attorney-client representation, or any agreement. Nothing contained


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herein or in the Plan Confirmation Order, nor any Professional’s compliance herewith and
therewith, shall constitute a breach of any Privileges of the Debtors.

L.      Insurance Policies

                Nothing in this Combined Plan and Disclosure Statement, the Plan Confirmation
Order, or the Liquidation Trust Agreement, alters the rights and obligations of the Debtors (and
their Estates) and the Debtors’ insurers (and third-party claims administrators) under the
Insurance Policies or modifies the coverage or benefits provided thereunder or the terms and
conditions thereof or diminishes or impairs the enforceability of the Insurance Policies. All of
the Debtors’ rights and their Estates’ rights under any Insurance Policy to which the Debtors
and/or the Debtors’ Estates may be beneficiaries shall vest with the Liquidation Trust for the
benefit of the Beneficiaries of the Liquidation Trust and all of the beneficiaries of such policies.

M.      Filing of Monthly and Quarterly Reports and Payment of Statutory Fees

               The Filing of the final monthly operating report (for the month in which the
Effective Date occurs) and all subsequent quarterly Liquidation Trust reports shall be the
responsibility of the Liquidation Trustee. All Statutory Fees shall be payable as set forth in
Section V.D. hereof and such obligation shall continue until such time as the Chapter 11 Cases
are closed, dismissed, or converted.

N.      Closing of the Chapter 11 Cases

               When all Liquidation Trust Assets have been liquidated and converted into Cash
and such Cash has been distributed in accordance with the Liquidation Trust Agreement and the
Plan Confirmation Order, the Liquidation Trustee shall seek authority from the Bankruptcy
Court to close the Chapter 11 Cases in accordance with the Bankruptcy Code, Bankruptcy Rules,
and Local Rules.

                    X. PROVISIONS GOVERNING DISTRIBUTIONS UNDER
                   THIS COMBINED PLAN AND DISCLOSURE STATEMENT

A.      Distribution Record Date

                As of the close of business on the Distribution Record Date, the various transfer
registers for each of the Classes of Claims or Interests as maintained by the Debtors or its agents
shall be deemed closed, and there shall be no further changes in the record Holders of any of the
Claims or Interests. The Debtors or the Liquidation Trustee shall have no obligation to recognize
any ownership transfer of the Claims or Interests occurring after the Distribution Record Date.
The Debtors, the Liquidation Trustee, or any party responsible for making Distributions shall be
entitled to recognize and deal for all purposes under this Combined Plan and Disclosure
Statement only with those record holders stated on the transfer ledgers as of the close of business
on the Distribution Record Date, to the extent applicable.




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B.      Method of Payment

               Unless otherwise expressly agreed, in writing, all Cash payments to be made
pursuant to this Combined Plan and Disclosure Statement shall be made by check drawn on a
domestic bank or an electronic wire transfer.

C.      Claims Objection Deadline

               The Liquidation Trustee, and any other party in interest to the extent permitted
pursuant to section 502(a) of the Bankruptcy Code, shall File and serve any objection to any
Claim no later than the Claims Objection Deadline; provided, however, the Claims Objection
Deadline may be extended by the Bankruptcy Court from time to time upon motion and notice
by the Liquidation Trustee for cause.

D.      No Distribution Pending Allowance

               Notwithstanding any other provision of this Combined Plan and Disclosure
Statement or the Liquidation Trust Agreement, no Distribution of Cash or other property shall be
made with respect to any portion of a Disputed Claim unless and until all objections to such
Claim are resolved by Final Order or as otherwise permitted by this Combined Plan and
Disclosure Statement or the Liquidation Trust Agreement.

E.      Reserve of Cash Distributions

               On any date that Distributions are to be made under the terms of this Combined
Plan and Disclosure Statement, the Liquidation Trustee shall reserve Cash or property equal to
100% of the Cash or property that would be distributed on such date on account of Disputed
Claims as if each such Disputed Claim were an Allowed Claim but for the pendency of a dispute
with respect thereto. Such Cash or property shall be held in trust for the benefit of the Holders of
all such Disputed Claims pending determination of their entitlement thereto.

F.      Distribution After Allowance

               Within the later of (i) seven (7) Business Days after such Claim becomes an
Allowed Claim and (ii) thirty (30) days after the expiration of the Claims Objection Deadline, the
Liquidation Trustee shall distribute all Cash or other property, including any interest, dividends
or proceeds thereof, to which a Holder of an Allowed Claim is then entitled.

G.      Delivery of Distributions

               Except as provided herein, Distributions to Holders of Allowed Claims shall be
made: (i) at the addresses set forth on the respective proofs of Claim Filed by such Holders;
(ii) at the addresses set forth in any written notices of address changes delivered to the
Liquidation Trustee after the date of any related proof of Claim; or (iii) at the address reflected in
the Schedules if no proof of Claim is Filed and the Liquidation Trustee has not received a written
notice of a change of address.



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               If the Distribution to the Holder of any Claim is returned to the Liquidation
Trustee as undeliverable, no further Distribution shall be made to such Holder unless and until
the Liquidation Trustee is notified in writing of such Holder’s then current address.
Undeliverable Distributions shall remain in the possession of the Liquidation Trustee until the
earlier of (i) such time as a Distribution becomes deliverable or (ii) such undeliverable
Distribution becomes an Unclaimed Distribution pursuant to Section X.H. of this Combined Plan
and Disclosure Statement.

               Until such time as an undeliverable Distribution becomes an Unclaimed
Distribution, within thirty (30) days after the end of each calendar quarter following the Effective
Date, or upon such other interval as the Bankruptcy Court may order, but in no event less
frequently than annually, the Liquidation Trustee shall make Distributions of all Cash and
property that has become deliverable during the preceding quarter. Each such Distribution shall
include the net return yielded from the investment of any undeliverable Cash, from the date such
Distribution would have been due had it then been deliverable to the date that such Distribution
becomes deliverable.

              The Liquidation Trustee shall make reasonable efforts to update or correct contact
information for recipients of undeliverable Distributions, provided, however, nothing contained
in this Combined Plan and Disclosure Statement shall require the Liquidation Trustee to locate
any Holder or an Allowed Claim.

H.      Unclaimed Distributions

               Any Cash or other property to be distributed under this Combined Plan and
Disclosure Statement shall revert to the Liquidation Trustee if it is not claimed by the Holder
within three (3) months after the date of such Distribution. If such Cash or other property is not
claimed on or before such date, the Distribution made to such Holder shall be deemed to be
reduced to zero and such returned, undeliverable, or unclaimed Distributions shall be deemed
unclaimed property under section 347(b) of the Bankruptcy Code.

I.      Set-Off

                Except as otherwise provided herein, the Debtors and Liquidation Trustee, as
applicable, retain the right to reduce any Claim by way of setoff in accordance with the Debtors’
books and records. Rights of a setoff and recoupment of any Entity or Person are preserved for
the purpose of asserting such rights as a defense to any Claims or Causes of Action of the
Debtors, their Estates, or the Liquidation Trustee and regardless of whether such Entity or Person
is the Holder of an Allowed Claim.

J.      Postpetition Interest

                Interest shall not accrue on any Claims, and no Holder of a Claim shall be entitled
to interest accruing on or after the Petition Date. No prepetition Claim shall be Allowed to the
extent it is for postpetition interest or other similar charges, except to the extent permitted for
Holders of Secured Claims under section 506(b) of the Bankruptcy Code.



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K.      Distributions After Effective Date

               For Disputed Claims that have not been Allowed as of the Effective Date, any
Distributions made after the Effective Date to Holders of such Disputed Claims (which later
become Allowed Claims after the Effective Date) shall be deemed to have been made on the
Effective Date.

L.      Distributions Free and Clear

              Except as may be otherwise provided in this Combined Plan and Disclosure
Statement, all Distributions hereunder shall be free and clear of any Liens, Claims,
encumbrances, and other interests.

M.      Allocation of Distributions Between Principal and Interest

               To the extent that any Allowed Claim entitled to a Distribution under this
Combined Plan and Disclosure Statement comprises indebtedness and accrued but unpaid
interest thereon, such Distribution shall be allocated to the principal amount of the Claim first
and then, to the extent the consideration exceeds the principal amount of the Claim, to accrued
but unpaid interest.

N.      Prepayment

               Except as otherwise provided herein or the Plan Confirmation Order, the Debtors
and the Liquidation Trustee, as applicable, shall have the right to prepay, without penalty, all or
any portion of an Allowed Claim.

                               XI. EXECUTORY CONTRACTS

A.      Rejection of Executory Contracts

                 On the Effective Date, all Executory Contracts not previously assumed and/or
assigned (including in connection with the 363 Sale and pursuant to the 363 Sale Order, subject
to the proviso below with respect to the Headquarters’ Lease), not subject to a pending motion to
assume and/or assign as of the Effective Date, or not rejected before the Effective Date, will be
deemed rejected. The Plan Confirmation Order shall constitute an order approving such rejection
as of the Effective Date; provided, however, that pursuant to the 363 Sale Documents, the
Purchaser has a designation period of up to 90 days after closing of the 363 Sale to designate the
Headquarters Lease as either an unexpired lease to be assumed and assigned in connection with
the 363 Sale or an unexpired lease to be rejected, and a notice of designation may be Filed by the
Debtors or Liquidation Trustee, as applicable, and the Headquarters Lease may be assumed and
assigned or rejected, as applicable, in accordance with the 363 Sale Order. In accordance with
the 363 Sale Documents, PGV shall be directly obligated to pay all costs, obligations, and
liabilities of the Debtors under any Executory Contract not subject to a Final Order approving
rejection thereof as of the Plan Confirmation Date, including the Headquarters Lease and any
Administrative Expense Claim in connection therewith, for the period from the closing of the
363 Sale through the effective date of the assumption and assignment or rejection, as applicable,
of any such Executory Contract, including the Headquarters Lease.

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               Unless otherwise specified, each Executory Contract assumed or rejected by the
Debtors shall include any and all modifications, amendments, supplements, restatements, or
other agreements made directly or indirectly by any agreement, instrument, or other document
that in any manner affects such Executory Contract.

B.      Deadline for Filing Proofs of Claim Relating to Executory Contracts
        Rejected Pursuant to this Combined Plan and Disclosure Statement

               If the rejection by the Debtors, pursuant to this Combined Plan and Disclosure
Statement or otherwise, of an Executory Contract gives rise to a Rejection Damages Claim, a
proof of Claim must be filed with the Claims Agent at (i) if by regular mail, Donlin, Recano &
Company, Inc., re: SDI Solutions LLC, et al., P.O. Box 899, Madison Square Station, New York,
NY 10010, and (ii) if by overnight courier or hand delivery, Donlin, Recano & Company, Inc.,
re: SDI Solutions LLC, et al., 6201 15th Avenue, Brooklyn, NY 11219, by no later than thirty
(30) days after the earlier of (i) the Effective Date or (ii) the date provided in any other
applicable Order of the Bankruptcy Court. Any proofs of Claim with respect to a Rejection
Damages Claim not filed within such time shall be forever barred from assertion against the
Debtors, the Estates, the Liquidation Trust, the Liquidation Trust Assets, and their property and
such Persons holding such Claims will not receive and be barred from receiving any
Distributions on account of such untimely Rejection Damages Claims, absent further order of the
Bankruptcy Court. All Rejection Damages Claims will be treated as General Unsecured Claims
under this Combined Plan and Disclosure Statement and, to the extent they are deemed Allowed
General Unsecured Claims, will receive the treatment afforded Allowed General Unsecured
Claims.

                   XII.   INJUNCTION, EXCULPATION AND RELEASES

A.      Injunction to Protect Estate Assets

               From and after the Effective Date, all Persons and Entities who have held,
hold, or may hold Claims or rights giving rise to any equitable relief against the Debtors or
the Assets or any Interests in the Debtors arising prior to the Effective Date are
permanently enjoined from taking any of the following actions against the Debtors, the
Estates, the Liquidation Trust, the Liquidation Trustee, or any of their respective property
or assets (collectively, the “Estate Assets”) on account of any such Claims or Interests: (a)
commencing or continuing, in any manner or in any place, any action or proceeding
seeking to collect or to recover in any manner against, or assert control or dominion over,
the Estate Assets; (b) enforcing, attaching, collecting, or recovering in any manner against
the Estate Assets any judgment, award, decree or order; (c) creating, perfecting, or
enforcing any Lien or encumbrance against the Estate Assets; and (d) asserting a setoff
unless such setoff was formally asserted in a timely Filed proof of claim or in a pleading
Filed with the Bankruptcy Court prior to entry of the Plan Confirmation Order or right of
subrogation of any kind against any debt, liability, or obligation due to the Debtors, except
as otherwise set forth in Section X.I. of this Combined Plan and Disclosure Statement;
provided, however, that such Persons and Entities shall not be precluded from exercising
their rights pursuant to and consistent with the terms of this Combined Plan and
Disclosure Statement, the Plan Confirmation Order, or the Liquidation Trust Agreement.

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B.      Term of Injunctions or Stays

              Unless otherwise provided in this Combined Plan and Disclosure Statement
or Plan Confirmation Order, all injunctions or stays provided for under this Combined
Plan and Disclosure Statement and ordered in the Plan Confirmation Order or pursuant to
sections 105 or 362 of the Bankruptcy Code arising under or entered during the Chapter 11
Cases, or otherwise, and in existence on the Plan Confirmation Date, shall remain in full
force and effect until the later of the Effective Date and the date indicated in the order
providing for such injunction or stay and to the extent consistent with the terms and
provisions of this Combined Plan and Disclosure Statement or the Plan Confirmation
Order, as applicable.

C.      Injunction Against Interference with Plan

              Upon the Bankruptcy Court’s entry of the Plan Confirmation Order, all
Holders of Claims and Interests, and other parties in interest, along with their respective
present or former employees, agents, officers, directors, or principals, shall be enjoined
from taking any actions to interfere with the Debtors’, Creditors’ Committee’s, the
Liquidation Trust’s, the Liquidation Trustee’s, and their respective affiliates’, employees’,
advisors’, officers’, directors’, members’, managers’, and agents’ implementation or
consummation of this Combined Plan and Disclosure Statement.

D.      Exculpation

              Except as otherwise specifically provided in this Combined Plan and
Disclosure Statement, the Released Parties shall not have or incur any liability for any
Claim, action, proceeding, Cause of Action, Avoidance Action, suit, account, controversy,
agreement, promise, right to legal remedies, right to equitable remedies, or right to
payment arising or accruing on or after the Petition Date, whether known, unknown,
reduced to judgment, not reduced to judgment, liquidated, unliquidated, fixed, contingent,
matured, unmatured, Disputed, undisputed, secured, or unsecured and whether asserted or
assertable directly or derivatively, in law, equity, or otherwise to one another or to any
Claim Holder or Interest Holder, or any other party in interest, or any of their respective
agents, employees, representatives, advisors, attorneys, or affiliates, or any of their
successors or assigns, for any act or omission in connection with, relating to, or arising out
of the Chapter 11 Cases, the negotiation, solicitation, Filing, and confirmation of this
Combined Plan and Disclosure Statement, the pursuit of confirmation of this Combined
Plan and Disclosure Statement, the consummation of this Combined Plan and Disclosure
Statement, the administration of this Combined Plan and Disclosure Statement, or the
property to be liquidated and/or distributed under this Combined Plan and Disclosure
Statement, except for their willful misconduct or gross negligence as determined by a Final
Order of a court of competent jurisdiction, and in all respects shall be entitled to rely
reasonably upon the advice of counsel with respect to their duties and responsibilities
under this Combined Plan and Disclosure Statement.




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E.      Releases

        1.         Debtor Releases

               Except as may otherwise be expressly provided in this Combined Plan and
Disclosure Statement, as of the Effective Date, for good and valuable consideration, to the
fullest extent permitted under applicable law, the Released Parties are deemed released
and discharged by the Debtors and the Estates of and from any and all Claims, obligations,
suits, judgments, damages, demands, debts, rights, Causes of Action (including Avoidance
Actions), and liabilities (other than the rights of the Debtors to enforce this Combined Plan
and Disclosure Statement, and the contracts, instruments, releases, and other agreement or
documents delivered hereunder, and liabilities arising after the Effective Date in the
ordinary course of business), whether liquidated or unliquidated, fixed or contingent,
matured or unmatured, known or unknown, foreseen or unforeseen, then existing or
thereafter arising, in law, equity, or otherwise that are based in whole or part on any act
omission, transaction, event, or other occurrences, whether direct or derivative, taking
place on or prior to the Effective Date in connection with, or related to, the Debtors, the
Estates, the Prepetition Credit Documents, the Postpetition Credit Documents, the 363 Sale
Documents, the Chapter 11 Cases, and this Combined Plan and Disclosure Statement,
other than with respect to the D&O Claims and Claims, Causes of Action or liabilities
arising out of or relating to any act or omission of a Released Party that constitutes actual
fraud, willful misconduct, or gross negligence.

        2.         Holder Releases

               Except as may otherwise be expressly provided in this Combined Plan and
Disclosure Statement, to the fullest extent permitted under applicable law, unless
affirmatively indicated otherwise by checking the “opt out” box on their Ballot, Holders of
Claims that are entitled to vote on acceptance or rejection of this Combined Plan and
Disclosure Statement shall be deemed to have released each Released Party of and from all
Claims, obligations, suits, judgments, damages, demands, debts, rights, Causes of Action,
and liabilities whether liquidated or unliquidated, fixed or contingent, matured or
unmatured, known or unknown, foreseen or unforeseen, then existing or thereafter arising,
in law, equity, or otherwise that are based in whole or part on any act omission,
transaction, event, or other occurrences, whether direct or derivative, taking place on or
prior to the Effective Date in connection with, or related to the Debtors, the Estates, the
Prepetition Credit Documents, the Postpetition Credit Documents, the 363 Sale Documents,
the Chapter 11 Cases, and this Combined Plan and Disclosure Statement, other than with
respect to the D&O Claims and Claims, Causes of Action or liabilities arising out of or
relating to any act or omission of a Released Party that constitutes actual fraud, willful
misconduct, or gross negligence. For the avoidance of doubt, nothing contained in this
Section shall impact the right of any Holder of an Allowed Claim to receive a Distribution
on account of its Allowed Claim in accordance with this Combined Plan and Disclosure
Statement.




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        3.         Waiver of Statutory Limitations on Releases

              Each of the parties providing the releases contained above expressly
acknowledges that although ordinarily a general release may not extend to Claims or
Causes of Action which the releasing party does not know or suspect to exist in its favor,
which if known by it may have materially affected its settlement with the party released,
they have carefully considered and taken into account in determining to enter into the
above releases the possible existence of such unknown losses or claims. Without limiting the
generality of the foregoing, each releasing party expressly waives any and all rights
conferred upon it by any statute or rule of law which provides that a release does not
extend to claims which the claimant does not know or suspect to exist in its favor at the
time of providing the release, which if known by it may have materially affected its
settlement with the Released Party. The releases contained in this Combined Plan and
Disclosure Statement are effective regardless of whether those released matters are
presently known, unknown, suspected or unsuspected, foreseen or unforeseen.

F.      Necessity and Approval of Releases and Injunctions

              The releases, exculpations, and injunctions set forth in Section XII of this
Combined Plan and Disclosure Statement are not severable and are integral consideration
and critical parts of this Combined Plan and Disclosure Statement, and the Released
Parties have relied on the efficacy and conclusive effects of such releases and injunctions
and on the Bankruptcy Court’s retention of jurisdiction to enforce such releases and
injunctions when making concessions and exchanging consideration in connection with the
Chapter 11 Cases and pursuant to this Combined Plan and Disclosure Statement.
Pursuant to Bankruptcy Code sections 1123(a)(5), 1123(b)(3), and 1123(b)(6), as well as
Bankruptcy Rule 9019, entry of the Plan Confirmation Order shall constitute the
Bankruptcy Court’s approval of the releases, exculpations, and injunctions set forth in
Section XII of this Combined Plan and Disclosure Statement and shall constitute the
Bankruptcy Court’s finding that such releases, exculpations, and injunctions are: (i) in
exchange for the good, valuable, and reasonably equivalent consideration provided by the
Released Parties, including the negotiation of the Global Settlement by and between the
Debtors, PGV, and the Creditors’ Committee and PGV’s agreement to, among other
things, provide the Plan Funding Amount and waive any right to receive a Distribution on
account of the Postpetition Lender Deficiency Claim; (ii) in the best interests of the
Debtors, the Estates, and Creditors; (iii) fair, equitable, and reasonable; and (iv) a bar to
any of the releasing parties as set forth in this Combined Plan and Disclosure Statement
asserting any Claims or Causes of Action released pursuant to such release.

G.      Compromise and Settlement of Claims, Interests and Controversies

                Pursuant to sections 363 and 1123(b) of the Bankruptcy Code and Bankruptcy
Rule 9019 and in consideration for the Distributions and other benefits provided pursuant to this
Combined Plan and Disclosure Statement, the provisions of this Combined Plan and Disclosure
Statement shall constitute a good faith compromise of all Claims, Interests and controversies
relating to the contractual, legal and subordination rights that a Holder of a Claim or Interest may
have with respect to any Allowed Claim or Interest, or any Distribution to be made on account of

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such Allowed Claim or Interest. The entry of the Plan Confirmation Order shall constitute the
Bankruptcy Court’s approval of the compromise or settlement of all such Claims, Interests and
controversies, as well as a finding by the Bankruptcy Court that such compromise or settlement
is in the best interests of the Debtors, the Estates, and Holders of Claims and Interests and is fair,
equitable, and reasonable.

                   XIII. CONDITIONS PRECEDENT TO AND
           OCCURRENCE OF CONFIRMATION AND THE EFFECTIVE DATE

A.      Conditions Precedent to Confirmation

              Confirmation of this Combined Plan and Disclosure Statement shall not occur,
and the Plan Confirmation Order shall not be entered, until each of the following conditions
precedent have been satisfied or waived:

               1.      The Plan Confirmation Order shall be reasonably acceptable in form and
        substance to the Debtors, PGV, and the Creditors’ Committee.

               2.      The Plan Supplement and any other exhibits or schedules incorporated as
        part of this Combined Plan and Disclosure Statement are in form and substance
        acceptable to the Debtors, the PGV, and the Creditors’ Committee.

B.      Conditions Precedent to the Effective Date

                This Combined Plan and Disclosure Statement shall not become effective unless
and until the following conditions shall have been satisfied or waived:

               1.     The Plan Confirmation Order shall have become a Final Order in full force
        and effect with no stay thereof then in effect, and shall be in form and substance
        reasonably acceptable to the Debtors, PGV, and the Creditors’ Committee.

                2.     The Plan Confirmation Date shall have occurred and no request for
        revocation of the Plan Confirmation Order under section 1144 of the Bankruptcy Code
        shall have been made, or, if made, shall remain pending.

                   3.   The 363 Sale shall have been consummated.

              4.     All actions, documents, and agreements necessary to implement this
        Combined Plan and Disclosure Statement, including, without limitation, all actions,
        documents, and agreements necessary to implement any transactions contemplated under
        this Combined Plan and Disclosure Statement, including the Liquidation Trust
        Agreement, shall have been effected or executed.

               5.     The absence of any pending or threatened government action or any law
        that has the effect of or actually does prevent consummation of any transaction
        contemplated under this the absence of any pending or threatened government action or
        any law that has the effect of or actually does prevent consummation of any transaction
        contemplated under this Combined Plan and Disclosure Statement.

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               6.      The deposit of the Plan Funding Amount into a segregated account held by
        the Debtors to be transferred to the Liquidation Trust in accordance with this Combined
        Plan and Disclosure Statement.

C.      Establishing the Effective Date

               The calendar date to serve as the Effective Date shall be a Business Day of, on or
promptly following the satisfaction or waiver of all conditions the Effective Date, which date
will be selected by the Debtors, after reasonable consultation with PGV and the Creditors’
Committee.

D.      Effect of Failure of Conditions

               If each condition to the Effective Date has not been satisfied or duly waived
within ninety (90) days after the Plan Confirmation Date, then upon motion by any party in
interest, made before the time that each of the conditions has been satisfied or duly waived by the
Debtors, with the express written consent of PGV and the Creditors’ Committee, if applicable,
and upon notice to such parties in interest as the Bankruptcy Court may direct, the Plan
Confirmation Order may be vacated by the Bankruptcy Court; provided, however, that
notwithstanding the Filing of such motion, the Plan Confirmation Order shall not be vacated if
each of the conditions to the Effective Date is either satisfied or duly waived by the Debtors,
with the written consent of PGV and the Creditors’ Committee, if applicable, before the any
Order granting such relief becomes a Final Order. If the Plan Confirmation Order is vacated
pursuant to this Section, this Combined Plan and Disclosure Statement shall be deemed null and
void in all respects and nothing contained herein shall (i) constitute a waiver or release of any
Claims by or against the Debtors, or (ii) prejudice in any manner the rights of the Debtors.

E.      Waiver of Conditions to Confirmation and Effective Date

               Each of the conditions to the Effective Date may be waived, in whole or in part,
by the Debtors with the written consent of PGV and the Creditors’ Committee, without notice or
an Order of the Bankruptcy Court.

                          XIV. RETENTION OF JURISDICTION

               Notwithstanding the entry of the Plan Confirmation Order and the occurrence of
the Effective Date, following the Effective Date, the Bankruptcy Court shall retain jurisdiction
over all matters arising in, arising under, and related to the Chapter 11 Cases as is legally
permissible, including, without limitation, such jurisdiction as is necessary to ensure that the
interests and purposes of this Combined Plan and Disclosure Statement and the Liquidation Trust
Agreement are carried out. The Bankruptcy Court shall retain jurisdiction over all matters arising
in, arising under, and related to the Chapter 11 Cases, this Combined Plan and Disclosure
Statement, and the Liquidation Trust Agreement for, among other things, the following purposes:

                1.      To hear and determine any objections to Claims and to address any issues
        relating to Disputed Claims;



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               2.      To enter and implement such Orders as may be appropriate in the event
        the Plan Confirmation Order is for any reason stayed, revoked, modified, or vacated;

              3.     To issue such Orders in aid of execution and consummation of this
        Combined Plan and Disclosure Statement and the Liquidation Trust Agreement;

               4.      To consider any amendments to or modifications of this Combined Plan
        and Disclosure Statement and the Liquidation Trust Agreement, to cure any defect or
        omission, or reconcile any inconsistency in any Order of the Bankruptcy Court,
        including, without limitation, the Plan Confirmation Order;

               5.     To hear and determine all requests for compensation and reimbursement
        of expenses under section 330 or 503 of the Bankruptcy Code;

                6.      To hear and determine disputes arising in connection with the
        interpretation, implementation, or enforcement of this Combined Plan and Disclosure
        Statement and the Liquidation Trust Agreement, including the releases, exculpations, and
        injunctions provided hereunder;

               7.     To hear and determine matters concerning state, local, and federal taxes in
        accordance with sections 346, 505 and 1146 of the Bankruptcy Code;

                   8.   To hear any other matter not inconsistent with the Bankruptcy Code;

                   9.   To enter a final decree closing the Chapter 11 Cases;

               10.    To ensure that Distributions to Holders of Allowed Claims are
        accomplished pursuant to the provisions of this Combined Plan and Disclosure Statement
        and the Liquidation Trust Agreement;

                11.     To decide or resolve any motions, adversary proceedings, contested or
        litigated matters arising out of, under, or related to, the Chapter 11 Cases;

               12.     To issue injunctions, enter and implement other Orders, or take such other
        actions as may be necessary or appropriate to restrain interference by any Person or
        Entity with the occurrence of the Effective Date or enforcement of this Combined Plan
        and Disclosure Statement and the Liquidation Trust Agreement;

               13.      To approve, as may be necessary or appropriate, any Claims settlement
        entered into or offset exercised by the Liquidation Trust;

               14.    To resolve any dispute or matter arising under or in connection with the
        Liquidation Trust, including any request for an extension of the term of the Liquidation
        Trust;

                15.     To determine any other matters that may arise in connection with or
        related to this Combined Plan and Disclosure Statement, the Plan Confirmation Order,
        the Liquidation Trust Agreement, or any contract, instrument, release, indenture or other

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        agreement or document created or implemented in connection with this Combined Plan
        and Disclosure Statement or the Liquidation Trust Agreement;

               16.     To enforce, interpret, and determine any disputes arising in connection
        with any stipulations, orders, judgments, injunctions, exculpations, and rulings entered in
        connection with the Chapter 11 Cases (whether or not the Chapter 11 Cases have been
        closed);

               17.     To resolve disputes concerning any reserves with respect to Disputed
        Claims or the administration thereof; and

               18.    To resolve any other matter or for any purpose specified in this Combined
        Plan and Disclosure Statement, the Plan Confirmation Order, the Liquidation Trust
        Agreement, or any other document entered into in connection with any of the foregoing.

                          XV.     MISCELLANEOUS PROVISIONS

A.      Amendment or Modification of this Combined Plan and Disclosure Statement

               This Combined Plan and Disclosure Statement or any exhibits hereto may be
amended, modified, or supplemented by the Debtors in the manner provided for by section 1127
of the Bankruptcy Code or as otherwise permitted by law without additional disclosure pursuant
to section 1125 of the Bankruptcy Code. In addition, after the Plan Confirmation Date, the
Debtors or Liquidation Trustee, as applicable, may institute proceedings in the Bankruptcy Court
to remedy any defect or omission or reconcile any inconsistencies in this Combined Plan and
Disclosure Statement or the Plan Confirmation Order with respect to such matters as may be
necessary to carry out the purposes and effects of this Combined Plan and Disclosure Statement.
The Debtors may make appropriate technical adjustments and modifications to this Combined
Plan and Disclosure Statement prior to the Effective Date without further order or approval of
the Bankruptcy Court.

B.      Severability

                This Combined Plan and Disclosure Statement is not severable. Nevertheless, if,
prior to the entry of the Plan Confirmation Order, any term or provision of this Combined Plan
and Disclosure Statement is held by the Bankruptcy Court to be invalid, void, or unenforceable,
the Bankruptcy Court, at the request of the Debtors, shall have the power to alter and interpret
such term or provision to make it valid or enforceable to the maximum extent practicable,
consistent with the original purpose of the term or provision held to be invalid, void, or
unenforceable, and such term or provision shall then be applicable as altered or interpreted.
Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and
provisions of this Combined Plan and Disclosure Statement will remain in full force and effect
and will in no way be affected, impaired, or invalidated by such holding, alteration, or
interpretation. The Plan Confirmation Order shall constitute a judicial determination and shall
provide that each term and provision of this Combined Plan and Disclosure Statement, as it may
have been altered or interpreted in accordance with the foregoing, is valid and enforceable
pursuant to its terms.


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C.      Revocation or Withdrawal of this Combined Plan and Disclosure Statement

               The Debtors, in consultation with the Creditors’ Committee, reserve the right to
revoke or withdraw this Combined Plan and Disclosure Statement before the Plan Confirmation
Date. If the Debtors revoke or withdraw this Combined Plan and Disclosure Statement before the
Plan Confirmation Date, then this Combined Plan and Disclosure Statement shall be deemed null
and void. In such event, nothing contained herein shall constitute or be deemed a waiver or
release of any Claims by or against the Debtors or the Liquidation Trustee or to prejudice in any
manner the rights of the Debtors or the Liquidation Trustee in any further proceedings involving
the Debtors.

D.      Binding Effect

               This Combined Plan and Disclosure Statement shall be binding upon and inure to
the benefit of the Debtors, the Holders of Claims, and the Holders of Interests, and their
respective successors and assigns.

E.      Notices

                All notices to or requests of the Debtors or Liquidation Trustee by parties in
interest in connection with this Combined Plan and Disclosure Statement shall be in writing and
delivered either by (a) certified mail, return receipt requested, postage prepaid, (b) hand delivery,
or (c) overnight delivery, all charges prepaid, and shall be deemed to have been given when
received by:

                   If to the Debtors:

                          SDI Solutions LLC
                          33 W. Monroe, Suite 400
                          Chicago, IL 60603
                          Attn: David Sullivan

                          -with a copy to-

                          DLA Piper LLP (US)
                          1201 N. Market Street, Suite 2100
                          Wilmington, DE 19801
                          Attn: Stuart M. Brown, Esq.
                                Kaitlin M. Edelman, Esq.

                          -and-

                          DLA Piper LLP (US)
                          1251 Avenue of the Americas
                          New York, New York 10020
                          Attn: Thomas R. Califano, Esq.
                                Daniel G. Egan, Esq.


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                   If to the Liquidation Trustee:

                          [_____________________]

F.      Governing Law

               Except to the extent the Bankruptcy Code, Bankruptcy Rules, or other federal law
is applicable, or to the extent an exhibit to this Combined Plan and Disclosure Statement
provides otherwise, the rights and obligations arising under this Combined Plan and Disclosure
Statement shall be governed by, and construed and enforced in accordance with, the laws of the
State of Delaware, without giving effect to the principles of conflicts of law of such jurisdiction.

G.      Withholding and Reporting Requirements

               In connection with the consummation of this Combined Plan and Disclosure
Statement, the Debtors and the Liquidation Trustee shall comply with all withholding and
reporting requirements imposed by any federal, state, or local taxing authority and all
Distributions hereunder shall be subject to any such withholding and reporting requirements. All
Beneficiaries, as a condition to receiving any Distribution, shall provide the Liquidation Trustee
with a completed and executed Form W-9.

H.      Headings

               Headings are used in this Combined Plan and Disclosure Statement for
convenience and reference only, and shall not constitute a part of this Combined Plan and
Disclosure Statement for any other purpose.

I.      Exhibits/Schedules

              The Plan Documents are an integral part of this Combined Plan and Disclosure
Statement, and are hereby incorporated by reference and made a part thereof.

J.      Filing of Additional Documents

              On or before substantial consummation of this Combined Plan and Disclosure
Statement, the Debtors or Liquidation Trustee, as applicable, shall File such agreements and
other documents as may be necessary or appropriate to effectuate and further evidence the terms
and conditions of this Combined Plan and Disclosure Statement; provided that the Plan
Supplement shall be Filed at least ten (10) days prior to the Plan Confirmation Hearing.

K.      No Admissions

               Notwithstanding anything herein to the contrary, nothing contained in this
Combined Plan and Disclosure Statement shall be deemed as an admission by any Entity with
respect to any matter set forth herein.

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L.      Successors and Assigns

               The rights, benefits, and obligations of any Person or Entity named or referred to
in this Combined Plan and Disclosure Statement shall be binding on, and shall inure to the
benefit of any heir, executor, administrator, successor, or assign of such Person or Entity.

M.      Reservation of Rights

               Except as expressly set forth herein, this Combined Plan and Disclosure
Statement shall have no force or effect unless the Bankruptcy Court shall enter the Plan
Confirmation Order. None of the Filing of this Combined Plan and Disclosure Statement, any
statement or provision contained herein, or the taking of any action by the Debtors with respect
to this Combined Plan and Disclosure Statement shall be or shall be deemed to be an admission
or waiver of any rights or Causes of Action of the Debtors, Holders of Claims, or Interest before
the Effective Date.

N.      Inconsistency

               In the event of any inconsistency among this Combined Plan and Disclosure
Statement, the Liquidation Trust Agreement, or any other instrument or document created or
executed pursuant to this Combined Plan and Disclosure Statement, the provisions of this
Combined Plan and Disclosure Statement shall govern; provided that in the event of any
inconsistency among this Combined Plan and Disclosure Statement and the Plan Confirmation
Order, the provisions of the Plan Confirmation Order.

O.      Consolidation Under Local Rule 1017-3

               The classification and manner of satisfying all Claims and Interests under this
Combined Plan and Disclosure Statement take into consideration the rights of Holders of Claims
and Interests, whether arising under contract, law, or equity, that a Holder of a Claim or Interest
may have against each of the Debtors. Except as otherwise provided for herein in Classes 4A,
4B, 7A, and 7B, Holders of Claims or Interests against more than one Debtor are classified in
consolidated classes of Claims against and Interests in all Debtors with respect to voting and the
making of Distributions on account of such Claims and Interests. The Plan Confirmation Order
shall approve this substantive consolidation.

               This Combined Plan and Disclosure Statement serves as a motion seeking entry of
an order consolidating the Estates under Local Rule 1017-3, with Case No. 16-10628 (CSS) to be
closed and Case No. 16-10627 (CSS) to be the remaining consolidated debtor case. Unless an
objection to such consolidation is made in writing by any creditor affected by this Combined
Plan and Disclosure Statement, Filed and served on the Debtors on or before this Combined Plan
and Disclosure Statement objection deadline as established by the Bankruptcy Court, the
consolidation order may be entered by the Bankruptcy Court. In the event any such objections
are timely Filed, a hearing with respect thereto shall occur at or before the hearing on
confirmation of this Combined Plan and Disclosure Statement.




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               Upon such consolidation, (i) all SDI Opco Interests shall be cancelled, deemed
terminated, and of no further force and effect, and (ii) all Intercompany Claims shall be cancelled
and neither Debtor will receive any recovery on account of any such Intercompany Claim.

P.      Dissolution of the Debtors

                Immediately following the distribution of all of the Debtors’ and the Estates’
property pursuant to the terms of this Combined Plan and Disclosure Statement, on the Effective
Date, the Debtors’ members, directors, managers, and officers and any remaining employees
shall be deemed to have resigned and the Debtors shall be deemed dissolved for all purposes and
of no further legal existence under any applicable state or federal law, without the need to take
any further action or file any plan of dissolution, notice, or application with the Secretary of State
of the Delaware or any other authority.

Q.      Dissolution of the Creditors’ Committee

               Upon the occurrence of the Effective Date, the Creditors’ Committee shall
dissolve automatically, whereupon its members, professionals, and agents shall be released from
any duties and responsibilities in the Chapter 11 Cases and under the Bankruptcy Code, except
with respect to (i) obligations arising under confidentiality agreements, which shall remain in full
force and effect, (ii) prosecuting applications for payment of fees and reimbursement of expenses
of Professionals or attending to any other issues related to applications for payment of fees and
reimbursement of expenses of Professionals, (iii) any motions or motions for other actions
seeking enforcement of implementation of the provisions of this Combined Plan and Disclosure
Statement, and (iv) prosecuting or participating in any appeal of the Plan Confirmation Order or
any request for reconsideration thereof.

                      XVI. RISKS AND OTHER CONSIDERATIONS

A.      Bankruptcy Considerations

                 Although the Debtors believe that this Combined Plan and Disclosure Statement
will satisfy all requirements necessary for confirmation by the Bankruptcy Court, there can be no
assurance that the Bankruptcy Court will confirm this Combined Plan and Disclosure Statement
as proposed. Moreover, there can be no assurance that modifications of this Combined Plan and
Disclosure Statement will not be required for confirmation or that such modifications would not
necessitate the re-solicitation of votes.

               In addition, the occurrence of the Effective Date is conditioned on the satisfaction
(or waiver) of the conditions precedent specified herein, and there can be no assurance that such
conditions will be satisfied or waived. In the event such conditions precedent have not been
satisfied or waived (to the extent possible hereunder) within ninety (90) days after the Plan
Confirmation Date, which period may be extended by the Debtors, in consultation with the
Creditors’ Committee and PGV, then the Plan Confirmation Order may be vacated, no
Distributions will be made pursuant to this Combined Plan and Disclosure Statement, and the
Debtors and all Holders of Claims and Interests will be restored to the status quo ante as of the
day immediately preceding the Plan Confirmation Date as though the Plan Confirmation Date
had never occurred.

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                Section 1122 of the Bankruptcy Code provides that a plan may place a claim or an
equity interest in a particular class only if such claim or equity interest is substantially similar to
the other claims or equity interests in such class. The Debtors believe that the classification of
Claims and Interests under the Plan complies with the requirements set forth in the Bankruptcy
Code because each Class of Claims and Interests encompass Claims or Interests, as applicable,
that are substantially similar to the other Claims and Interests in each such Class. Nevertheless,
there can be no assurance that the Bankruptcy Court will reach the same conclusion.

              While the Debtors believe that there are sufficient Liquidation Trust Assets to
make Distributions to Liquidation Trust Beneficiaries, there can be no assurance that the
Liquidation Trust Assets will be sufficient to pay all Liquidation Trust Operational Expenses or
make Distributions to the Liquidation Trust Beneficiaries.

B.      No Duty to Update Disclosures

               The Debtors have no duty to update the information contained in this Combined
Plan and Disclosure Statement as of the date hereof, unless otherwise specified herein, or unless
the Debtors are required to do so pursuant to an Order of the Bankruptcy Court. Delivery of this
Combined Plan and Disclosure Statement after the date hereof does not imply that the
information contained herein has remained unchanged.

C.      Alternatives to Confirmation and Consummation of the Plan

        1.         Alternate Plan

                If this Combined Plan and Disclosure Statement is not confirmed, the Debtors or
any other party in interest (if, pursuant to section 1121 of the Bankruptcy Code, the Debtors have
not Filed a plan within the time period prescribed under the Bankruptcy Code) could attempt to
formulate and propose a different plan. Such a plan likely would result in additional costs,
including, among other things, additional professional fees or potential asserted substantial
contribution claims, all of which would likely constitute Administrative Expense Claims (subject
to allowance). The Debtors believe that this Combined Plan and Disclosure Statement, which is
the result of extensive negotiations with, among others, the Creditors’ Committee and PGV,
provides for an orderly and efficient liquidation of the Debtors’ remaining assets and enables
creditors to realize the best return under the circumstances.

        2.         Chapter 7 Liquidation

                If a plan pursuant to chapter 11 of the Bankruptcy Code is not confirmed by the
Bankruptcy Court, the Chapter 11 Cases may be converted to liquidation cases under chapter 7
of the Bankruptcy Code in which a trustee would be elected or appointed, pursuant to applicable
provisions of chapter 7 of the Bankruptcy Code, to liquidate the assets of the Debtors for
distribution in accordance with the priorities established by the Bankruptcy Code. The Debtors
believe that such a liquidation would result in smaller distributions being made to the Debtors’
creditors than those provided for in this Combined Plan and Disclosure Statement because (a) the
likelihood that other assets of the Debtors would have to be sold or otherwise disposed of in a
less orderly fashion, (b) additional administrative expenses attendant to the appointment of a


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trustee and the trustee’s employment of attorneys and other professionals, (c) additional expenses
and Claims, some of which would be entitled to priority, that would be generated during the
liquidation, (d) creditors likely would not receive the benefit of the settlements and resolutions
reached with PGV and the Creditors’ Committee as described herein.

D.      Certain Federal Tax Consequences

        1.         General

               The following discussion summarizes certain material U.S. federal income tax
consequences to Holders of Claims entitled to vote on this Combined Plan and Disclosure
Statement. This discussion is based on current provisions of the IRC, applicable Treasury
Regulations, judicial authority and current administrative rulings and pronouncements of the
IRS. There can be no assurance that the IRS will not take a contrary view, no ruling from the
IRS has been or will be sought nor will any counsel provide a legal opinion as to any of the
expected tax consequences set forth below.

               Legislative, judicial, or administrative changes or interpretations may be
forthcoming that could alter or modify the statements and conclusions set forth herein. Any such
changes or interpretations may or may not be retroactive and could affect the tax consequences
to the Holders of Claims, the Liquidation Trust, or the Debtors. It cannot be predicted at this
time whether any tax legislation will be enacted or, if enacted, whether any tax law changes
contained therein would affect the tax consequences described herein.

                The following summary is for general information only. The tax treatment of a
Holder may vary depending upon such Holder’s particular situation. This summary does not
address all of the tax consequences that may be relevant to a Holder, including any alternative
minimum tax consequences and does not address the tax consequences to a Holder that has made
an agreement to resolve its claim in a manner not explicitly provided for in this Combined Plan
and Disclosure Statement. This summary also does not address the U.S. federal income tax
consequences to persons not entitled to vote on this Combined Plan and Disclosure Statement or
Holders subject to special treatment under the U.S. federal income tax laws, such as brokers or
dealers in securities or currencies, certain securities traders, tax-exempt entities, financial
institutions, insurance companies, foreign persons, partnerships and other pass-through entities,
Holders that have a “functional currency” other than the United States dollar and Holders that
have acquired Claims in connection with the performance of services. The following summary
assumes that the Claims are held by Holders as “capital assets” within the meaning of
section 1221 of the IRC and that all Claims denominated as indebtedness are properly treated as
debt for U.S. federal income tax purposes.

                The tax treatment of Holders and the character, amount, and timing of income,
gain, or loss recognized as a consequence of this Combined Plan and Disclosure Statement and
the distributions provided for hereby may vary, depending upon, among other things: (i) whether
the Claim (or portion thereof) constitutes a Claim for principal or interest; (ii) the type of
consideration received by the Holder in exchange for the Claim and whether the Holder receives
Distributions hereunder in more than one taxable year; (iii) whether the Holder is a citizen or
resident of the United States for tax purposes, is otherwise subject to U.S. federal income tax on


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a net basis, or falls into any special class of taxpayers, such as those that are excluded from this
discussion as noted above; (iv) the manner in which the Holder acquired the Claim; (v) the
length of time that the Claim has been held; (vi) whether the Claim was acquired at a discount;
(vii) whether the Holder has taken a bad debt deduction with respect to the Claim (or any portion
thereof) in the current or prior years; (viii) whether the Holder has previously included in income
accrued but unpaid interest with respect to the Claim; (ix) the method of tax accounting of the
Holder; (x) whether the Claim is an installment obligation for U.S. federal income tax purposes;
and (xi) whether the “market discount” rules are applicable to the Holder. Therefore, each
Holder should consult its tax advisor for information that may be relevant to its particular
situation and circumstances, and the particular tax consequences to such Holder of the
transactions contemplated by this Combined Plan and Disclosure Statement.

           THE FOLLOWING DISCUSSION IS INTENDED ONLY AS A
SUMMARY OF CERTAIN U.S. FEDERAL TAX CONSEQUENCES OF THIS
COMBINED PLAN AND DISCLOSURE STATEMENT AND IS NOT A SUBSTITUTE
FOR CAREFUL TAX PLANNING WITH A TAX PROFESSIONAL.            THE
FOLLOWING DISCUSSION IS FOR INFORMATION PURPOSES ONLY AND IS NOT
TAX ADVICE. THE TAX CONSEQUENCES ARE IN MANY CASES UNCERTAIN
AND MAY VARY DEPENDING ON A HOLDER’S PARTICULAR CIRCUMSTANCES.
ACCORDINGLY, EACH HOLDER IS STRONGLY URGED TO CONSULT ITS TAX
ADVISOR REGARDING THE U.S. FEDERAL, STATE, LOCAL, AND APPLICABLE
NON-U.S. INCOME AND OTHER TAX CONSEQUENCES OF THIS COMBINED
PLAN AND DISCLOSURE STATEMENT.

          TO COMPLY WITH INTERNAL REVENUE SERVICE CIRCULAR 230,
TAXPAYERS ARE HEREBY NOTIFIED THAT (A) ANY DISCUSSION OF U.S.
FEDERAL TAX ISSUES CONTAINED OR REFERRED TO IN THIS COMBINED
PLAN AND DISCLOSURE STATEMENT IS NOT INTENDED OR WRITTEN TO BE
USED, AND CANNOT BE USED, BY ANY TAXPAYER FOR THE PURPOSE OF
AVOIDING PENALTIES THAT MAY BE IMPOSED ON A TAXPAYER UNDER THE
INTERNAL REVENUE CODE, (B) ANY SUCH DISCUSSION IS WRITTEN IN
CONNECTION WITH THE PROMOTION OR MARKETING OF THE
TRANSACTIONS OR MATTERS ADDRESSED HEREIN, AND (C) TAXPAYERS
SHOULD SEEK ADVICE BASED ON THEIR PARTICULAR CIRCUMSTANCES
FROM AN INDEPENDENT TAX ADVISOR.

        2.         U.S. Federal Income Tax Consequences to the Debtors

                If there is a discharge of a debt obligation by a debtor (or, in the case of
indebtedness with multiple obligors, indebtedness that is allocable to such debtor) for an amount
less than the adjusted issue price (in most cases, the amount the debtor received on incurring the
obligation, with certain adjustments), such discharge generally would give rise to cancellation of
debt income, which must be included in the debtor’s income (or, in the case of a debtor that is
treated as a disregarded entity for U.S. federal income tax purposes, in the income of its owner).
However, the Debtors should be able to utilize a special tax provision that excludes from income
debts discharged in a chapter 11 case. Notably, the Debtors may not recognize income as a
result of the discharge of debt pursuant to this Combined Plan and Disclosure Statement because

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section 108 of the IRC provides that taxpayers in bankruptcy cases do not recognize income
from discharge of indebtedness. A taxpayer is, however, required to reduce its “tax attributes”
by the amount of the debt discharged. Tax attributes are reduced in the following order: (i) net
operating losses for the taxable year of the discharge, and any net operating loss carryover to
such taxable year; (ii) general business credits; (iii) minimum tax credits, (iv) capital loss
carryovers; (v) the basis of the property of the taxpayer; (vi) passive activity loss and credit
carryovers; and (vii) foreign tax credit carryovers.

        3.         U.S. Federal Income Tax Treatment With Respect to the Liquidation Trust

                It is intended that the Liquidation Trust will be treated as a “grantor trust” for U.S.
federal income tax purposes. In general, a grantor trust is not a separate taxable entity. The IRS,
in Revenue Procedure 94-45, 1994-2 C.B. 684, set forth the general criteria for obtaining an
advanced ruling as to the grantor trust status of a liquidating trust under a chapter 11 plan. The
Debtors are not requesting a private letter ruling regarding the status of the Liquidation Trust as a
grantor trust. Consistent with the requirements of Revenue Procedure 94-45, however, the
Liquidation Trust Agreement will require all relevant parties to treat, for federal income tax
purposes, the transfer of the Debtors’ assets to the Liquidation Trust as (i) a transfer of such
assets to the beneficiaries of the Liquidation Trust (to the extent of the value of their respective
interests in the applicable Liquidation Trust Assets) followed by (ii) a transfer of such assets by
such Beneficiaries to the Liquidation Trust (to the extent of the value of their respective interests
in the applicable Liquidation Trust Assets), with the Beneficiaries of the Liquidation Trust being
treated as the grantors and owners of the Liquidation Trust. Each Beneficiary of the Liquidation
Trust will generally recognize gain (or loss) in its taxable year that includes the Effective Date in
an amount equal to the difference between the amount realized in respect of its Claim and its
adjusted tax basis in such Claim. The amount realized for this purpose should generally equal
the amount of cash and the fair market value of any other assets received or deemed received for
U.S. federal income tax purposes under this Combined Plan and Disclosure Statement in respect
of such Holder’s Claim. A Holder that is deemed to receive for U.S. federal income tax purposes
a non-cash asset under this Combined Plan and Disclosure Statement in respect of its Claim
should generally have a tax basis in such asset in an amount equal to the fair market value of
such asset on the date of its deemed receipt.

               Beneficiaries of the Liquidation Trust should value the assets of the Liquidation
Trust consistently with the values determined by the Liquidation Trustee for all U.S. federal,
state, and local income tax purposes. As soon as possible after the Effective Date, the
Liquidation Trustee shall make a good faith valuation of the assets transferred to the Liquidation
Trust.

                Consistent with the treatment of the Liquidation Trust as a grantor trust, each
Holder should report on its U.S. federal income tax return its allocable share of the Liquidation
Trust’s income. Therefore, a Holder may incur a U.S. federal income tax liability with respect to
its allocable share of the income of the Liquidation Trust whether or not the Liquidation Trust
has made any Distributions to such Holder. The character of items of income, gain, deduction,
and credit to any Holder and the ability of such Holder to benefit from any deduction or losses
will depend on the particular situation of such Holder.


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               In general, a distribution of underlying assets from the Liquidation Trust to a
beneficiary thereof may not be taxable to such Holder because such Holders are already regarded
for U.S. federal income tax purposes as owning such assets. Holders are urged to consult their
tax advisors regarding the appropriate U.S. federal income tax treatment of Distributions from
the Liquidation Trust.

                The Liquidation Trustee will file with the IRS tax returns for the Liquidation
Trust as a grantor trust pursuant to Treasury Regulation Section 1.671-4(a) and will also send to
each Holder a separate statement setting forth such Holder’s share of items of Liquidation Trust
income, gain, loss, deduction, or credit. Each such Holder will be required to report such items
on its U.S. federal income tax return.

               The discussion above assumes that the Liquidation Trust will be respected as a
grantor trust for U.S. federal income tax purposes. If the IRS were to successfully challenge
such classification, the U.S. federal income tax consequences to the Liquidation Trust and the
beneficiaries of the Liquidation Trust could differ materially from those discussed herein
(including the potential for an entity level tax to be imposed on all income of the Liquidation
Trust).

      4.      U.S. Federal Income Tax Treatment With Respect to Holders of Allowed
Claims that are Beneficiaries of the Liquidation Trust

               Holders of Allowed Claims as of the Effective Date that are beneficiaries of the
Liquidation Trust should be treated as receiving from the Debtors their respective shares of the
applicable assets of the Liquidation Trust in satisfaction of their Allowed Claims, and
simultaneously transferring such assets to the Liquidation Trust. Accordingly, a Holder of such
Claim should generally recognize gain or loss in an amount equal to the amount deemed realized
on the Effective Date (as described above) less its adjusted tax basis of its Claim. Additionally,
such Holders should generally recognize their allocable share of income, gain, loss and
deductions recognized by the Liquidation Trust on an annual basis.

                 Because a Holder’s ultimate share of the assets of the Liquidation Trust based on
its Allowed Claim will not be determinable on the Effective Date due to, among other things, the
existence of Disputed Claims and the value of the assets at the time of actual receipt not being
ascertainable on the Effective Date, such Holder should recognize additional or offsetting gain or
loss if, and to the extent that, the aggregate amount of cash and fair market value of the assets of
the Liquidation Trust ultimately received by such Holder is greater than or less than the amount
used in initially determining gain or loss in accordance with the procedures described in the
preceding paragraph. It is unclear when a Holder of an Allowed Claim that is a beneficiary of
the Liquidation Trust should recognize, as an additional amount received for purposes of
computing gain or loss, an amount attributable to the disallowance of a Disputed Claim.

                The character of any gain or loss as capital gain or loss or ordinary income or loss
and, in the case of capital gain or loss, as short-term or long-term, will depend on a number of
factors, including: (i) the nature and origin of the Claim; (ii) the tax status of the Holder of the
Claim; (iii) whether the Claim has been held for more than one year; (iv) the extent to which the
Holder previously claimed a loss or bad debt deduction with respect to the Claim; and


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(v) whether the Claim was acquired at a market discount. A Holder that purchased its Claim
from a prior Holder at a market discount may be subject to the market discount rules of the IRC.
Under those rules (subject to a de minimis exception), assuming that such Holder has made no
election to accrue the market discount and include it in income on a current basis, any gain
recognized on the exchange of such Claim generally would be characterized as ordinary income
to the extent of the accrued market discount on such Claim as of the date of the exchange.

               It is possible that the Service may assert that any loss should not be recognizable
until the Liquidation Trustee makes its final distribution of the assets of the Liquidation Trust.
Holders should consult their tax advisors regarding the possibility that the recognition of gain or
loss may be deferred until the final distribution of the assets of the Liquidation Trust.

                Although not free from doubt, Holders of Disputed Claims should not recognize
any gain or loss on the date that the assets of the Debtors are transferred to the Liquidation Trust,
but should recognize gain or loss in an amount equal to: (i) the amount of cash and the fair
market value of any other property actually distributed to such Holder less (ii) the adjusted tax
basis of its Claim. It is possible, however, that such Holders may be required to recognize the
fair market value of such Holder’s allocable share of the Liquidation Trust’s assets, as an amount
received for purposes of computing gain or loss, either on the Effective Date or the date such
Holder’s Claim becomes an Allowed Claim.

                Holders of Allowed Claims will be treated as receiving a payment of interest
(includible in income in accordance with the Holder’s method of accounting for tax purposes) to
the extent that any cash or other property received (or deemed received) pursuant to this
Combined Plan and Disclosure Statement is attributable to accrued but unpaid interest, if any, on
such Allowed Claims. The extent to which the receipt of cash or other property should be
attributable to accrued but unpaid interest is unclear. The Debtors and the Liquidation Trust
intend to take the position that such cash or property distributed pursuant to this Combined Plan
and Disclosure Statement will first be allocable to the principal amount of an Allowed Claim and
then, to the extent necessary, to any accrued but unpaid interest thereon. Each Holder should
consult its tax advisor regarding the determination of the amount of consideration received under
this Combined Plan and Disclosure Statement that is attributable to interest (if any). A Holder
generally will be entitled to recognize a loss to the extent any accrued interest was previously
included in its gross income and is not paid in full.




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                    XVII. RECOMMENDATION AND CONCLUSION

                The Debtors believe that this Combined Plan and Disclosure Statement is in the
best interests of the Estates and urges the Holders of Impaired Claims entitled to vote to accept
this Combined Plan and Disclosure Statement and to evidence such acceptance by properly
voting and timely returning their ballots.



Dated: May 24, 2016                             SDI SOLUTIONS LLC
       Chicago, Illinois
                                                By:      /s/ David Sullivan
                                                      Name: David Sullivan
                                                      Title: Chief Executive Officer



                                                SDI OPCO HOLDINGS, LLC

                                                By:      /s/ David Sullivan
                                                      Name: David Sullivan
                                                      Title: Manager




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